Gov. Ex. 38
                                                                           Friday, June 18, 2021

Corey J. Smith
Senior Litigation Counsel
U.S. Department of Justice, Tax Division
150 M Street NE, Rm 2.208
Washington, DC 20002

Re:     USA vs. Robert Brockman

Dear Mr. Smith,

At your request I reviewed the medical records, diagnostic testing, and legal records related to
the case of USA vs. Robert Brockman. I also performed an independent medical examination of
Mr. Brockman in his lawyer’s offices in Houston, TX on May 5th, 2021, and separately
interviewed his wife, Dorothy Brockman, at the same date and location. Below is a summary of
my findings and conclusions as a behavioral neurologist with expertise in evaluating patients
with neurological disorders, cognitive disorders, and dementia.

Sources of Information
   1. Brockman’s motion for competency hearing
   2. USA response to Competency Motion
   3. Brockman’s reply to USA response
   4. FDG-PET scan brain 3/12/2021
   5. Polysomnogram 4/29/2021
   6. UT physicians medical records
   7. Baylor College of Medicine medical records
   8. Dr. Komal Stoerr Medical Records
   9. Neuropsychological reports, Dr. Michele York, 3/1/2019, 12/3/2019, and 10/7/2020
   10. Deposition of Robert Brockman 1/16/2019 and 1/17/2019
   11. Reynolds and Reynolds videos 2017, 2018, and 2019
   12. Kelly Hall Deposition 3/10/2021
   13. Robert Shaefer Deposition 3/18/2021
   14. Tommy Barras Deposition 4/15/2021
   15. Interview and examination of Robert Brockman, 5/5/2021
   16. Interview with Dorothy Brockman, 5/5/2021
   17. Video of Robert Brockman interview with Dr. Park Dietz and Dr. Robert Denney,
       5/18/2021 and 5/20/2021
   18. Dr. Eugene Lai Medical Records
   19. Personal Medical Records kept by Mr. Robert Brockman
   20. Dr. Robert Denney’s notes from interviewing Kathy Keneally and Peter Romatowski,
       attorneys representing Robert Brockman in the current case
   21. Houston Methodist Hospital records
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                                                                         EXHIBIT

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Neurological and Medical Evaluation
General Medical History
Mr. Brockman has a prior history of bladder cancer that was successfully resected in 2006. He
has a history of recurrent urinary tract infections and prostate infections (prostatitis). He also
has a history of atrial fibrillation (an abnormal heart arrhythmia), low thyroid function, elevated
cholesterol, glaucoma, basal cell skin cancer, melanoma, and a single ocular migraine in 2012.

Medications
The following medications were provided by Mr. Brockman’s attorneys for my evaluation on
5/5/2021:

bupropion SR (WELLBUTRIN SR) 12 hr tablet 100 mg (100 mg, oral, 2 tablets in the morning, 1
tablet at night)
carbidopa-levodopa (SINEMET) 25-100 mg per tablet 2 tablet (2 tablets 3 times daily, oral)
ciprofloxacin (CIPRO) tablet 500 mg (500 mg, oral, BID)
enoxaparin (LOVENOX) syringe 40 mg (40 mg, subQ, Daily at 1700)
folic acid (FOLVITE) tablet 400 mcg (400 mcg, oral, Daily)
lactulose 20 gram/30 mL solution 20 g (20 g, oral, TID)
levothyroxine (SYNTHROID) tablet 75 mcg (75 mcg, oral, Daily at 0600)
potassium chloride (K-DUR) CR tablet 60 mEq (60 mEq, oral, Once)
ramelteon (ROZEREM) tablet 8 mg (8 mg, oral, Nightly)
rivastigmine (EXELON) 9.5 mg/24 hr 1 patch (1 patch, TD, Daily)
tamsulosin (FLOMAX) 24 hr capsule 0.4 mg (0.4 mg, oral, Daily with dinner)
acetaminophen (TYLENOL) tablet 650 mg (650 mg, oral, Q6H PRN)
ondansetron (ZOFRAN) injection 4 mg (4 mg, IV, Q6H PRN)
temazepam (RESTORIL) capsule 15 mg (15 mg, oral, Nightly PRN) *** Mr. Brockman denies
taking this medication***
tramadol (ULTRAM) tablet 50 mg (50 mg, oral, Q6H PRN)
Eliquis (2.5 mg bid)
Trazodone (50 mg at night)
Myrbetriq (50 mg in morning)
Rosuvastatin (5 mg at night)
Livalo (1 mg at night)
Testim (50 mg/day)
AndroGel
Aspirin
MiraLAX
Vit. D-3 (4000 IU)

Social and developmental history
Mr. Brockman was born on          1941 in St. Petersburg, Florida. He had a normal birth and
reportedly met all developmental milestones. He attended Center College before transferring
to the University of Florida where he graduated with a major in business. He enrolled in a



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Master of Business Administration program but did not finish. He also served in the Marine
Corps but did not see active duty.

He worked at the Ford Motor Company for 1 year and at IBM for 5 years before leaving to start
his own company, Universal Computer Services, Inc. (UCS), in 1970. The company created
software for car dealerships. In 2006, UCS merged with Reynolds and Reynolds, with Mr.
Brockman functioning as the CEO. He continued to serve as CEO of Reynolds and Reynolds until
his retirement in November 2020.

Mr. Brockman is married to his wife, Dorothy, and has one son and one grandson.

Mr. Brockman never smoked. He previously drank alcohol socially, more heavily when on
fishing trips, but stopped drinking due to his atrial fibrillation and other health issues. He denies
use of illicit drugs.

Family history
Mr. Brockman denies a history of dementia, Parkinson disease, psychosis, or other significant
neurological diseases in his parents, brother, or grandparents. His son had severe
neuropsychiatric problems related to Asperger’s / Autistic Spectrum disorder that have
improved during adulthood.

Neurological history
Mr. Brockman provided typed health update letters dated yearly from 2004 until approximately
2018. These were presumably for annual follow-up visits with his primary care doctor, Bill
Obenour. These notes all included cognitive complaints attributable to aging, including slower
mental processes, concentration, ability to complete tasks, and poor memory for names that
should be more familiar. These notes denied significant progression of symptoms through his
note dated 12/2016. Beginning with notes in 2018, he described a decrease in efficiency at
work, stating he felt he was nearing the end of his career as a full time CEO. All notes were well
organized and discussed his ongoing health, family and work issues in a clear, organized, and
detailed manner. Cognitive and neurological exams from Dr. Obenour through 2014 were noted
to be normal. He had a cognitive and neurological exam with Dr. Julia Jones, a neurologist, on
3/30/2012 that was normal. He had an MRI brain on 5/28/1994 for tingling in his toes and on
1/24/2012 for ocular migraine that were both normal.

Mr. Brockman emailed Dr. Stuart Yudofsky, a friend and neuropsychiatrist, on 5/2/2017,
indicating that he was having loss of smell and memory difficulties. Mr. Brockman mentioned
memory problems to Dr. Kozak at Fondren Orthopedics on 11/27/2017 but these records did
not provide further details on his symptoms. On 9/11/2018, Mr. Brockman was seen by his
Urologist Dr. Seth Lerner. Dr. Lerner’s note did not mention memory problems but stated that
Mr. Brockman was not feeling well and had increased stress at work. Dr. Lerner recommended
evaluation with Dr. Pool, an internist.




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There are vital signs from Dr. Pool’s office on 10/15/2018, but no clinical note. Mr. Brockman
provided a typed note dated 10/2018 describing lack of stamina, strength, clumsiness,
slowness, depression, reduced confidence driving in rush hour, reduced memory, and reduced
organizational skills. An MRI was performed on 11/2/2018, reportedly showing age-
appropriate changes to brain size without other abnormalities.

Mr. Brockman gave a recorded deposition as part of a legal matter relating to Reynolds and
Reynolds on January 16-17th, 2019. Review of these recordings did not show evidence of
fluctuations in attention or arousal. He did not appear to have any problems cognitively
understanding or responding to questions, and his details regarding business transactions and
facts related to his business were readily remembered.

On 1/30/2019, he was evaluated in a movement disorders clinic by Dr. Daniel Savitt, a fellow,
and Dr. Joseph Jankovic, an attending neurologist. At that time, Mr. Brockman reported 1.5
years of memory problems, dating onset of symptoms to approximately June 2017. He scored a
19/30 on the Montreal Cognitive Assessment (MoCA), a short cognitive screening tool used by
neurologists and neuropsychologists to track cognitive performance over time. Mr. Brockman
noted about 1.5 years of slowness and stiffness with movements. Motor examination was
notable for rigidity (stiffness) in the legs but not arms, bradykinesia (slower movements) on the
right greater than left sides, a slight tremor with movement but none at rest, slower gait, and
mild imbalance. Nonmotor symptoms included a report of acting out dreams 2-3 years prior.
The diagnosis of possible Parkinson disease with postural instability gait disorder subtype was
made. He was started on Sinemet, a medication to increase dopamine levels and treat
Parkinson disease motor symptoms. He had a dopamine transport scan (DATscan) 2/14/2019
showing damage to dopamine neurons, a finding that occurs in Parkinson disease.

Mr. Brockman had neuropsychological testing with Dr. Michele York 3/1/2019. Dr. York noted
impaired performance across several domains, including short-term memory, visuospatial,
attention / working memory, and executive function. She also performed a MoCA that was
19/30. He reported seeing movement on the floor or table during their examination, although
he denied prior visual hallucinations. Mrs. Brockman noted no significant changes to Mr.
Brockman’s functional status at that time. Dr. York suspected dementia with Lewy Bodies, and
estimated that Mr. Brockman was in the mild to moderate stage of severity.

On 3/13/2019, Mr. Brockman was seen by Dr. Jankovic at follow-up. At that time, he was
started on rivastigmine for treatment of cognitive issues. Dr. Jankovic noted no hallucinations
or cognitive fluctuations at that time.

On 3/20/2019, Mr. Brockman was seen by Dr. Melissa Yu, a neurologist specializing in dementia
and cognitive disorders. Dr. Yu noted worsening cognitive symptoms beginning 9 months prior
to her evaluation due to stress related to Mr. Brockman’s legal issues. Dr. Yu suspected mild
dementia with Lewy Body. She did not suggest that he lacked the capacity to work or manage
his finances, although she noted potential effects of cognitive deficits on these functions.



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Around 7/19/2019, Mr. Brockman reportedly asked to meet with his attorneys, where he
provided them with a binder organized with medical records detailing the evaluations
performed by Drs. Jankovich, Yu, York, and Pool. He stated that he was having cognitive issues
and would need information repeated and provided more slowly. His attorneys, Peter
Romatowski and Kathy Keneally, stated in interviews to Dr. Denney that they noted
impairments prior to this meeting involving Mr. Brockman’s limitations in guiding them to
relevant information, providing useful interpretation or context to pieces of evidence, ability to
help reconstruct events from the past, and presenting information to his attorneys as if it were
new when in fact his attorneys had provided this information to him.

On 10/1/2019, he had a cognitive screening test called CogniSense, a digitalized version of
Memory Orientation Assessment Test (MOST), which he scored a 12/29. Mr. Brockman wrote
notes regarding his health symptoms for Dr. Pool dated 10/2019, describing more defined
memory problems with dates and recall. He also noted that his desk was cluttered and that he
had a task initiation problem.

On 12/3/2019, Mr. Brockman had a forensic neuropsychological exam with Dr. York. MoCA was
again 19/30. He scored in the average range on the WAIS test of general intelligence.
Variability on task performance was interpreted as showing evidence of fluctuations. Clinical
history indicated progression of symptoms including more repetitive questioning, more
fluctuations, slower to complete tasks, difficulty with passwords, a remote, and tying a tie.

On 1/14/2020, Dr. Jankovic provided a letter to Mr. Brockman’s attorneys stating his opinion
that Mr. Brockman would not be able to assist his attorneys in his defense. He had concerns for
possible confabulation, or filling memory gaps with false information in a non-voluntary
manner. Dr. Pool provided a letter 1/14/2020 stating that Mr. Brockman’s long-term memories
would be inaccessible due to dementia, and that any response to questions asked of Mr.
Brockman are likely to be confabulations and inaccurate. Dr. Yu provided a letter on 1/21/2020
stating that Mr. Brockman had cognitive impairment affecting domains beyond just memory.
She did not comment on his ability to assist his attorneys and did not mention confabulation.

On 1/18/2020, Mr. Brockman was evaluated by Dr. Eugene Lai, a neurologist specializing in
movement and neurodegenerative disorders. At that time, Mr. and Mrs. Brockman noted
cognitive symptoms including repeating himself, misplacing items, losing his train of thought,
difficulty multi-tasking, word-finding problems, and poor initiation of activities. He mentioned
having a bookkeeper to help with personal finances that preceded his cognitive problems and
denied other limitations in his functional independence. Mr. Brockman reported that he
continued to drive short distances at that time despite recommendations from Dr. York. He
reported some improvement in cognitive symptoms with bupropion and rivastigmine. Motor
symptoms included slowed walking, imbalance, smaller handwriting, difficulty signing
documents, and softer voice. He reported onset of snoring accompanied by kicking, punching,
and possibly acting out dreams 2-3 years prior. MoCA at that time was 20/30. Dr. Lai concluded
that Mr. Brockman had a diagnosis of Parkinson disease, mild to moderate cognitive
impairment, REM sleep disorder, and depression/anxiety. He recommended avoiding stress and


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anxiety by reducing his business responsibilities, physical and occupational therapy, and
continuation of Mr. Brockman’s medications.

On 2/12/2020, Mr. Brockman had a follow-up appointment with Dr. Lai. He was reported to be
functionally independent in his basic activities of daily living, still working full time as CEO of
Reynolds and Reynolds but needing occasional assistance from his wife in his office. Dr. Lai’s
visit diagnosis was Parkinson disease with mild cognitive impairment. Mr. Brockman was
determined to have decision-making capacity and signed an informed consent document for a
research study.

Emails written by Mr. Brockman on 2/13/2020 and 2/29/2020 demonstrated that he
maintained an active role in his business, with evidence of long-term planning, long-term
memory, and communicating reasons for making specific decisions.

On 6/4/2020, Mr. Brockman gave informed consent for anesthesia and a surgical procedure
and was deemed to have full medical decision-making capacity.

On 10/6/2020 there was a CogniSense test performed showing a score of 13.

On 10/7/2020, Mr. Brockman had a repeat forensic neuropsychological evaluation with Dr.
York. MoCA was 19/30. His scored in the low average range on the WAIS score for general
intelligence. He reportedly had a decline in decision-making, working memory, and processing
speed. He was searching more for words and forgetting names. He occasionally noted bugs or
the sensation of something crawling on a t-shirt.

On the night of 10/17/2020, Mr. Brockman’s son reported an episode where Mr. Brockman
believed that his son had been at the house looking at unusual material on his computer.

On 11/6/2020, Mr. Brockman retired from CEO at Reynolds and Reynolds, enacting a disability
clause of his contract. Up until that time, he had been meeting with Tommy Barras, president of
Reynolds and Reynolds and his successor as CEO, several times per week. During his deposition
testimony, Mr. Barras denied any significant cognitive issues or any concerns with Mr.
Brockman’s abilities to successfully run the company.

On 11/25/2020, Dr. Pool provided an additional letter to Mr. Brockman’s attorney stating the
opinion that Mr. Brockman had progressive cognitive changes, Parkinsonism, and dementia
that prevented him from assisting in his own defense.

On 2/2/2021, Mr. Brockman had a follow-up with Dr. Lai. He was noted to have retired from
Reynolds and Reynolds but was still under a great deal of stress. He was independent in basic
activities of living, but slower. His wife was assisting him in organizing his responsibilities and
legal issues. He described worse mood, stress, low energy, and fatigue. His cognitive and motor
symptoms were felt to be stable and unchanged from his evaluation the year prior. He was



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given a diagnosis of Parkinson disease, mild cognitive impairment, and REM sleep disorder. No
changes were made to his medications.

On 3/12/2021, Mr. Brockman had an FDG-PET scan of the brain. This scan showed very mildly
reduced uptake focally in the right parietal lobe. There was mention of possible, but not
definitive, reduced glucose metabolism in the right posterolateral temporal lobe. These findings
did not fit the typical pattern seen in Dementia with Lewy Body, Parkinson disease dementia, or
Alzheimer’s disease, although the radiologists commented that it remains possible these could
be early findings for one of these disorders developing in the future.

He was admitted to the hospital from 3/15-19/2021 with confusion and delirium caused by a
urinary tract infection that spread to his blood (sepsis). I do not have the actual medical records
from this hospitalization to review.

On 4/29/2021, Mr. Brockman had a polysomnography (“sleep study”). This showed that Mr.
Brockman had severe obstructive sleep apnea. There was no evidence of REM sleep behavior
disorder. The report recommended that Mr. Brockman have a repeat sleep study while using a
continuous positive air pressure (CPAP) machine, in order to titrate the CPAP to the appropriate
settings, and that additional monitoring for REM sleep behavior disorder could occur during this
CPAP titration. This test was scheduled but cancelled due to a hospitalization.

On 5/5/2021, I interviewed and examined Mr. Brockman for approximately 3 hours. In regard
to cognitive issues, he noted problems for about 5-7 years. It began with difficulty remembering
names and telephone numbers. He had difficulties with task initiation and being able to finish
tasks quickly and efficiently. He noted slowness with tasks, but not errors per se. This affected
more complex tasks but not less demanding tasks. He noted losing or misplacing items like his
reading glasses more frequently. He did not think it interfered with his work initially but started
to need help in organizing his office 1-2 years ago. He denied fully formed visual hallucinations.
He recalled the visual illusions of bugs moving in the shadows of a table during his
neuropsychological testing but denies similar symptoms outside of medical settings. He also
denied auditory hallucinations, presence hallucinations, misidentifications, or delusions. He
described his Parkinson motor symptoms as well managed until he was no longer able to
exercise due to his health club closing at the beginning of the COVID-19 pandemic in 3/2020. He
described slowness, difficulty with walking without falls, mild right-hand tremor, reduced voice
volume, poor handwriting, and difficulty buttoning his shirt or tying a tie. He denied and
changes to his ability to fish or hunt, although he had not done so since the pandemic started.
He noted a couple of months where he spoke or made movements in his sleep a few years ago
and had to place a pillow between he and his wife but denied sleep problems since that time.
He had depression related to the current legal case that has improved somewhat with
bupropion. Functionally, he stated that he has had a personal bookkeeper that came to his
home weekly for over 10 years, but that his wife had largely taken over dealing with financial
matters following his retirement and legal issues. His wife began managing his medications
during this time as well. He did not have difficulty with bathing, grooming, dressing, feeding, or



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other basic ADLs until his recent hospitalization in 3/2021 with sepsis and delirium. Since that
time, he has needed additional physical assistance due to weakness from his hospitalization.

On 5/5/2021, I interviewed Mr. Brockman’s wife, Dorothy, for approximately 1 hour with her
lawyer present. In general, Mrs. Brockman provided observations but was unable to give
estimations of when these observations occurred or any specific details regarding progression.
She noted increasing problems with organizing his desk and workspace. She noted concerns
regarding some of his financial decisions, including paying too much for landscaping at their
Aspen property, paying too much for partial ownership of a yacht, and losing money investing
in a start-up. She noted problems with forgetting he had seen movies, remembering passwords,
and initiating tasks. She is managing medications and finances but cannot tell me when this
started. She stated that Beth Yudofsky, Mrs. Brockman’s psychiatrist, and Stuart Yudofsky,
mentioned concern that Mr. Brockman had physical signs of Parkinson disease, but she was
unable to give an estimated date when this observation occurred. She recalled a brief period of
time when Mr. Brockman had movements in his sleep, similar to Mr. Brockman’s account. She
noted a significant decline in cognitive functioning following the government’s announcement
to investigate and bring charges against Mr. Brockman. She also noted a significant recent
decline following his March 2021 hospitalization for sepsis, with only partial recovery since that
time.

On 5/18/2021 through 5/20/2021, Mr. Brockman was interviewed by Dr. Robert Denney, a
neuropsychologist, and Dr. Park Dietz, a forensic psychiatrist.

Mr. Brockman was hospitalized again from 5/31/2021 until 6/11/2021 with a urinary tract
infection and blood infection causing confusion and delirium. I have partial records from this
hospitalization to review. His wife Dorothy told doctors that Mr. Brockman had been fully
independent in all activities until his 3/2021 hospitalization. After that time, he required
assistance from his caregiver and wife due to physical limitations. On admission, he was not
fully oriented, confused, and easily distracted, with periods of agitation and possible psychosis.
He was treated for the infection and started on Seroquel, an anti-psychotic medication used to
control his agitated delirium. This medication is expected to be used temporarily until the
infection clears and the delirium resolves. His MoCA was 10/30 on 6/7/2021 while acutely
delirious. I do not have any records regarding his mental status at discharge 6/11/2021.

Neurological Examination
General Observations: Mr. Brockman was well groomed and clean. He walked into the
interview unassisted but was accompanied by his caregiver Frank. He was friendly and
cooperative during interactions with me and the videographer. The examination occurred at
the end of an approximately 2-hour clinical interview and history. He took his Sinemet (2 pills)
at approximately 11:45 AM. The examination started with the cognitive exam and the motor
exam began at approximately 12:10 PM. He had breaks to empty an indwelling urinary
catheter with his caregiver Frank approximately every hour during the interview, with his last
break immediately before cognitive testing. In general, during the cognitive testing, Mr.



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Brockman performed all tasks extremely slowly. He had some additional limitations in hearing
that resulted in his hearing the wrong word or phrase at times.

Cognitive Exam:
There was a disconnect between the speed of verbal responses during our interview and during
the cognitive examination, with much slower response times during the examination. He
scored a 13/30 on the Montreal Cognitive Assessment (MoCA).

Executive Functions: He was unable to perform the short trails part B, initially connecting
numbers in order and then switching to letters, rather than alternating between the two.

Visuospatial: He took a long time attempting to draw the cube (> 60 seconds) and ended up
missing the line for the back bottom edge, as well as drawing an incomplete top front edge.

His clock-drawing was also prolonged in duration. He drew lines out from the center towards
the 12 positions of the numbers in a radial pattern, similar to documented practice clocks from
his visit with Dr. Yu in 3/2019. He noted his errors in the numbering but declined the
opportunity to redraw the clock on the back. He had crowding of his numbers on the right side
of the clock and did not place the hands on the clock.

Language: He correctly named 3/3 animals. Sentence repetition and abstraction were normal.
For phonetic fluency, he had difficulty hearing that I wanted him to name words beginning with
the letter “F”, and instead gave me 6 words starting with the letter “S”. He was able to generate
a list of 15 animals in 1 minute. Except for the difficulties with hearing, he did not have
difficulties understanding any of my instructions or questions during the interview.

Memory: He encoded 3/5 words and 5/5 words on two trials of a 5-item word list. Delayed
recall was 0/5 at 5 minutes. He was able to remember 2 words with category cue (red, velvet)
and two with multiple choice (face, daisy). He did not give any spontaneous false responses.

Long term episodic memory for events in his past remained intact. Short term episodic memory
during the interview appeared relatively preserved. He was also able to give me details of
recent events, such as the specifics details regarding his sleep behaviors, specific events related
to the COVID epidemic, and details regarding taking expired antibiotics prior to his recent
hospitalization for a UTI and sepsis, all of which were independently verified by his wife. He
was also able to provide a coherent account of his history medical appointments and tests
related to his neurological issues that were largely consistent with those documented in the
medical record. I did not identify any specific example of reported memories or details that
were incorrect or false. When asked questions he did not know, he appropriately told me that
he could not remember.

Attention / working memory: He had normal digit span forwards and backwards. He performed
the sustained attention task in the normal range, with 1 erroneous extra tap. On a serial
subtraction of 7 from 100, he correctly answered 93 but then began listing single digit numbers.


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I did not note any specific fluctuations in alertness, arousal, or attention during our
approximately 2-hour clinical interview. He occasionally briefly paused to consider a question
or was slow to initiate a verbal response, but never with a clear lapse in attention. He did
struggle more to respond and engage in the cognitive testing with pencil and paper, although
responses became quicker again when we switched to the motor examination.

Orientation: Orientation to date was impaired. He was one off on the date (6th instead of 5th)
and stated that it was Friday (instead of Wednesday), November (instead of May), and 2012
(instead of 2021). He was oriented to the location and that we were in his lawyer’s office.

Praxis: Normal. He was able to pantomime saluting, brushing, and putting a letter in an
envelope. Interhemispheric sensorimotor function was normal, being able to transport hand
position information from one hand to the other without visual input.

Cranial nerves: Pupils were equal and symmetric upon eye opening. He had normal extra-
ocular movements without delays. Face sensation was normal. He had reduced facial
expression (2+) with masked facies, although he was able to generate facial movements.
Speech was low volume but without dysarthria. No oral-buccal apraxia. Swallow and guttural
sounds were normal.

Motor: Strength was 5/5 and symmetric. He had bradykinesia in the right greater than left
upper and lower extremities (3+) to finger tapping, hand opening, pronation- supination, toe
tapping, and foot raises. He had rigidity in the right greater than left (2+) upper extremities
although with some volitional component especially in the left arm, as the rigidity here actually
reduced in intensity with performance of an activation task that was distracting. There was
occasional resting tremor in the right hand.

Sensory: Intact to light touch diffusely. Romberg weakly positive

Reflexes: 2+ in the upper extremities, 2+ although difficult to elicit in the lower extremities

Cerebellar: Normal finger nose finger and heel to shin. Some difficulty with random alternating
movements bilaterally.

Gait: He could stand from a chair with his arms crossed unassisted. He had a slow gait with a
stooped posture, some festination, and reduced arm-swing on the right greater than left. He
took 3-4 steps for turning and took 2-3 steps backwards on examination of postural reflexes.

Medical Diagnoses and Opinion
Parkinson disease
Mr. Brockman meets criteria for a diagnosis of clinically probable Parkinson disease (PD)
using criteria from the Movement Disorder Society. Cardinal features of PD include
bradykinesia with either resting tremor, rigidity, or both. At the time of my examination on


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5/5/2021, Mr. Brockman had evidence of asymmetric bradykinesia, rigidity, and resting tremor
affecting the right greater than left side of his body. While not formally part of the MDS
diagnostic criteria for PD, the presence of reduced striatal dopamine transport uptake on his
DAT scan dated 2/14/2019 also supports a diagnosis of PD. The diagnosis of PD was also made
by Drs. Savitt and Jankovic on 1/30/2019, and by Dr. Lai on 1/18/2020. These records reported
PD symptoms beginning in approximately 2017, which is supported by Reynolds and Reynolds
videos of Mr. Brockman showing subtle signs of Parkinsonism in 2018 and 2019, including
reduced arm-swing and movement of the left arm, slower movements, and possible right-hand
tremor.

Extent, severity, and time-course of cognitive impairment
Cognitive impairment can be characterized as a spectrum from normal age-related changes to
mild cognitive impairment (MCI) to dementia. MCI is differentiated from age-related changes
by the presence of cognitive deficits on neuropsychological or neurological testing, and
dementia is differentiated from MCI when the cognitive deficits are severe enough to impair
functional independence in daily social, occupational, and/or personal care activities. Reports
of functional status and neuropsychological testing can be limited, inaccurate, and/or invalid.
Because of this, clinical observations of cognitive capacities and evidence of functional status
from additional sources are also used to determine whether cognitive deficits are present and
severe enough to limit functional independence.

In patients with Parkinson symptoms, cognitive changes can be classified as either PD-MCI, PD
dementia (PDD), or Dementia with Lewy Bodies (DLB). As mentioned previously, PD-MCI is
differentiated from PDD and DLB by whether a patient is capable of maintaining functional
independence in daily social, occupational, and personal care activities. Patients with PD-MCI
have a variable course, with some patients having worsening cognitive symptoms over time and
progressing to dementia, some patients improving into the normal range of cognitive
functioning, and some patients having stable cognitive problems over time. DLB is
differentiated from PDD by whether dementia occurs within the first year of Parkinson
symptoms, and also requires having two of four core DLB clinical features: well-formed visual
hallucinations, REM sleep disorder, significant fluctuations in attention and arousal, and clinical
signs of Parkinson disease.

Characterization of Mr. Brockman’s cognitive deficits
Mr. Brockman provided typed health symptoms reports from 2004 through 2016 noting non-
progressive cognitive changes, including difficulty remembering names, slower thinking, feeling
not as sharp mentally, and decreased efficiency at work. Clinical assessments with Dr. Obenour
through 2014 reported normal cognition. These symptoms are commonly associated with
normal aging and are not indicative or early signs of a dementia or neurological disease. Mr.
Brockman began noting more cognitive changes beginning in 2017-2018. Despite reported
progression, the characterization of the symptoms has remained the same, including difficulty
remembering names, problems with task initiation, task efficiency, slowed thinking, and losing
or misplacing items. Many of these symptoms can be attributable to age-related changes, as
well as cognitive symptoms that are common in PD patients without dementia.


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Mr. Brockman has had significant deficits on neuropsychological testing. However, there is
reason to believe that the neuropsychological testing results are an underestimation of his true
capacities and are therefore invalid. First, Dr. Denney found inconsistent results on tests of
validity that suggested invalid test results, although I will defer to Dr. Denney’s report for a full
discussion of this testing. Second, there was a marked difference between Mr. Brockman’s
cognitive capacities on formal testing and his demonstrated cognitive capacities during clinical
interviews. During interviews, Mr. Brockman was able to retain, comprehend, manipulate, and
communicate information with a level of complexity sufficient for most daily functions. In
specific cognitive domains, he performed much better during the clinical interview than during
situations where cognition was being explicitly tested. For instance, Mr. Brockman correctly
stated that he would turn 80 in ten days during his interview with Dr. Denney and Dr. Dietz on
      2021 (his birthday is       1941), yet repeatedly stated the wrong date when asked
directly during cognitive assessments. He was able to provide details of recent events, such as
his hospitalization for sepsis, moving to a new home, his new caregiver, his 1-year-old
grandson, recalling the details of a fall he had during a break in an interview, and remembering
information from earlier in the interview. Yet on direct questioning he denied knowing the
name of the current president, denied knowing the name of his medical condition (Parkinson
disease), and performed poorly on memory tasks in the context of the cognitive exam. The
speed at which he responded to questions during the clinical interview vs. during cognitive
assessments was also strikingly different. These discrepancies indicate that these cognitive
assessments are likely underestimating Mr. Brockman’s true cognitive abilities.

Characterization of Mr. Brockman’s functional independence
Mrs. Brockman reported to doctors at Houston Methodist Hospital that up until his 3/2021
hospitalization, Mr. Brockman maintained his functional independence in occupational, social,
and personal care activities. Co-workers such as Mr. Barras did not observe any cognitive issues
that interfered with Mr. Brockman’s ability to perform his job as a CEO of a large company
through his retirement in 11/6/2020. He continued to socialize at the Houstonian fitness club
until it was closed in March 2020 due to the Covid-19 pandemic. He maintained decision-
making capacity to vote, sign informed consent for medical procedures and research studies,
have access to financial accounts, and maintained access to firearms without restriction.

Dr. York recommended that Mr. Brockman stop driving after his 3/2019 evaluation, but this
recommendation may relate to physical impairments from PD in addition to noted cognitive
impairments. The fact that Dr. York did not recommend restricting his financial or occupational
decision-making capacity is incongruent with cognitive deficits being the sole reason for her
recommendation that he stop driving. Dr. Lai’s notes indicate that Mr. Brockman continued to
drive despite Dr. York’s recommendation without issue.

Mrs. Brockman stated that she and her son have taken over control of the finances after Mr.
Brockman’s retirement. It is unclear whether this is entirely due to Mr. Brockman’s inability to
functionally manage financial decisions, or if this is partially related to his ongoing legal issues.
His wife stated that Mr. Brockman was making poor financial decisions. However, her examples


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are focused on spending decisions she disagreed with, but not necessarily errors or mistakes in
managing finances due to cognitive deficits. For instance, Mrs. Brockman stated that Mr.
Brockman was spending too much on a yacht he partially owned and spending too much in
landscaping expenses at a property in Aspen. Another example she gave was losing money he
had invested in a start-up company that was unsuccessful. When Dr. Dietz questioned Mr.
Brockman about this start-up, Mr. Brockman was able recall this business venture, give a
rational explanation for investing in this company, and provide insight into the aspects of that
business venture that caused it to fail. There were no examples of missing bills or being unable
to understand financial issues due to memory or cognitive problems. It also appears the Mr.
Brockman has not lost all financial decision-making capacity, as he continues to maintain a
separate bank account that he personally writes checks from.

Mr. and Mrs. Brockman stated that he is no longer managing his medications because he was
missing doses, although neither was able to give an approximate date for when this started. Mr.
Brockman currently has a health aide assisting with several aspects of self-care, including
walking and toileting. However, this decline in functional independence is unrelated to his
cognitive deficits, and instead relates the weakness from his recent hospitalization for sepsis.

Mr. Brockman’s attorneys, Mr. Romatowski and Ms. Keneally, have raised concerns regarding
Mr. Brockman’s cognitive ability to assist them in his defense. Specifically, they have noted an
inability for Mr. Brockman to assist in reconstructing a narrative timeline for events in his case,
to provide specific contextual details, or to provide additional information, documents, or
sources to assist in his case. They have also expressed concern that they cannot trust what he
does or does not understand, and that they do not feel the information he does provide is
factually accurate or reliable. These observations are incongruent with Mr. Brockman’s
demonstrated capacities to perform similar tasks in other situations. First, Mr. Brockman gave
depositions during 2019 which involved highly complex, detailed questions regarding specific
events and decisions relating to his business. He was able to understand these questions,
maintain information over an extended period of time, recall details, and appropriately respond
to these questions. There were no indications during these recordings of any cognitive deficits
interfering with his ability to provide information asked of him. Second, observations of his
work-performance through 11/2020 show that Mr. Brockman was able to comprehend complex
information and make appropriate decisions in a manner that was unchanged from his previous
performance. Third, Mr. Brockman was able to accurately recount many details regarding his
remote and more recent medical care and history to myself and Drs. Denney and Dietz during
our clinical interviews. Mr. Brockman spontaneously suggested that I review personal medical
records he had that might be useful in my evaluation of his cognitive issues because he
remembered that these records included details of cognitive symptoms reported in the past.
This required Mr. Brockman to have an awareness of the purpose of my evaluation, to
remember details of evidence that he had that might be useful for his position, and to
communicate with me regarding this evidence so that I had access to it for my evaluation. He
was able to report details regarding his medical history that when possible were verified as
accurate from collateral sources including his wife and available medical records. He was able
to evaluate questions from Drs. Dietz and Denney and determine whether these questions


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were related to his medical and cognitive issues or delved too deeply into questions regarding
his legal case that he did not want to discuss. These examples illustrate Mr. Brockman’s ability
to understand, remember, express, and evaluate complex information to a degree that would
be adequate to assist his defense.

Summary and diagnosis
The extent and severity of Mr. Brockman’s cognitive deficits is challenging to estimate because
his reported functional deficits and cognitive deficits on neuropsychological testing are in
excess of his demonstrated cognitive capacities during the clinical interview. He reported age
related cognitive changes prior to 2017 that are common and did not impair his level of
functional independence. He reported deterioration in cognitive function beginning in 2017-
2018 with associated cognitive deficits on bedside testing, but performance on cognitive testing
was discrepant with observed cognitive capacities in other contexts. Evidence suggests that Mr.
Brockman maintained functional independence at least until his hospitalization for sepsis in
3/2021. While there are reports of loss of functional independence since that time, he
demonstrated cognitive capacities during the clinical interview that would be sufficient for him
to continue independence in most activities of daily living.

Thus, while it remains possible that Mr. Brockman has some degree of mild cognitive
impairment, these cognitive deficits would not be expected to significantly limit his functional
independence or reach the threshold for a diagnosis of dementia.

Forensic Opinions
Patients with MCI maintain decision-making capacity for financial, medical, occupational, and
legal decisions, even if cognitive deficits make the process leading to these decisions harder.
Based on Mr. Brockman’s clinical diagnosis of PD-MCI, it is expected that he would have the
cognitive capacity necessary to assist his defense and to understand aspects of his legal trial.

Mr. Brockman’s long-term memory was normal on clinical interview and testing. He was able to
discuss in great detail events throughout his life, up to and including recent medical issues,
moving homes, vacations and trips, details related to his business, and details of events earlier
in the interviews. He was also able to relate important details regarding aspects of his legal
case, witnesses against him, and the relationship between the Eugene Brockman Trust,
Reynolds and Reynolds, and his personal finances.

There was no evidence of confabulation, which refers to filling memory gaps with false,
misinterpreted, or distorted information. Memories recalled by Mr. Brockman, when they
could be verified against collateral sources, were typically accurate. Mr. Brockman
appropriately responded when he did not remember something. Confabulation is typically
found in patients with alcohol-related memory disorder called Wernicke-Korsakoff’s dementia,
or rarely in Alzheimer’s disease where dense memory impairment occurs. Confabulation would
be extremely unlikely in PD, PD-MCI, PDD, or DLB; in fact, I could not identify any research
papers or even single case reports in the scientific literature describing confabulation in



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patients PD or DLB. Thus, it is unlikely that Mr. Brockman’s cognitive deficits would prevent him
from providing accurate information regarding past events.

Mr. Brockman was interviewed for several hours as part of this evaluation. During these hours
of interviewing, he consistently demonstrated the ability to understand and appropriately
respond to questions. He was able to maintain vigilance regarding questions or topics that he
determined to fall outside of the scope of the evaluation, or that might provide non-disclosed
details in his legal case. He was able to understand the role of our evaluation and to offer
evidence to us that might be beneficial. On specific questioning with Dr. Denney and Dr. Dietz,
he was able to demonstrate knowledge of the financial dealings implicated in the charges
against him, other involved parties, and that he was actively working with his attorneys and
educating them about aspects of his business and personal finances. He was also able to clearly
articulate an appropriate understanding of legal proceedings, the charges against him, the
consequences of such charges, and his legal options for defending himself against these
charges. There was no indication that cognitive deficits would prevent him from answering
similar questions with his attorneys in order to assist in his defense.

Conclusions:
In summary, Mr. Brockman has evidence of Parkinson disease and mild cognitive impairment.
His level of cognitive impairment does not clearly reach the threshold of dementia. Extensive
clinical interviewing demonstrates that Mr. Brockman has the cognitive capacities to access
and accurately report past memories, to comprehend, manipulate, and make appropriate
judgments regarding questions asked of him, and to understand the charges against him and
the role of his attorneys in defending him against these charges. To a reasonable degree of
medical certainty, there are no cognitive deficits that would prevent Mr. Brockman from
assisting in his defense.

Thank you for referring this very interesting matter for my evaluation and report.

Sincerely,




R. Ryan Darby, MD
Assistant Professor of Neurology
Vanderbilt University Medical Center




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Gov. Ex. 39
                                                                     Friday, October 29, 2021

Corey J. Smith
Senior Litigation Counsel
U.S. Department of Justice, Tax Division
150 M Street NE, Rm 2.208
Washington, DC 20002

Re:       USA vs. Robert Brockman

Dear Mr. Smith,

At your request I am providing an addendum to my initial report dated 6/18/2021. I have
reviewed additional materials as outlined below. Unless otherwise stated, the opinions
expressed in my initial report have not changed.

Additional Sources of Information
   1. FDG-PET scan brain, 8/24/21
   2. Amyloid-PET scan brain, 7/28/21
   3. MRI brain, 7/30/21
   4. Sleep study, 8/12/21
   5. EEG brain, 9/2/21
   6. Neuroreader quantitative MRI analysis of MRI scans from 7/30/21 and 11/2/18
   7. Additional medical records from Mr. Brockman’s hospitalizations with urosepsis at
       Houston Methodist Hospital, 5/31/21-6/11/21 and 3/15-19/21
   8. St. Luke’s hospital records for Uro-Lift procedure, 6/23-25/21
   9. Additional hand-written records from Dr. James Pool
   10. Additional hand-written records from Dr. Stuart Yudofsky
   11. Additional records from Dr. Seth Lerner
   12. Reports of qualitative and semi-quantitative PET scan analyses from Dr. Maria Ponisio,
       9/5/21
   13. Dr. Park Dietz report, 6/21/21
   14. Dr. Robert Denney’s report, 6/21/21
   15. Dr. Thomas Wisniewski report, 8/6/21
   16. Dr. Christopher Whitlow’s report, 8/6/21
   17. Dr. Marc Agronin report, 8/6/21
   18. Dr. Thomas Guilmette report, 8/6/21
   19. Video and transcript from Dr. Guilmette’s interview of Mr. Brockman, 7/16/21
   20. Video and transcript from Dr. Agronin’s interview of Mr. Brockman, 7/13/21
   21. Note from Dr. Eugene Lai, MD/PhD, 10/7/2021
   22. Court transcript 10/15/2021
   23. Video and transcript from Dr. Dietz and Dr. Denney interview of Mr. Brockman,
       10/20/21
   24. Lab results, Quest Diagnostics, 10/20/21                                     GOVERNMENT
                                                                                      EXHIBIT

                                                                                  4:21-CR-009-GCH
                                                                                        No. 39



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Background on neurodegenerative disorders or dementias

The diseases being evaluated in this case (Parkinson disease, Lewy Body disease, Alzheimer’s
disease) are called neurodegenerative disorders or dementias. These diseases start with
biological abnormalities (abnormal protein depositions) that lead to neurodegeneration
(brain damage) and resulting cognitive impairment (mild cognitive impairment or dementia).

Abnormal protein depositions

In Alzheimer’s disease, the first biological change that occurs is deposition of an abnormal
protein called amyloid beta. Amyloid deposition can occur 15-20 years prior to the onset of
dementia. Amyloid is deposited broadly throughout the brain but does not directly cause brain
damage or significant cognitive impairment. Tau is the other main protein involved in
Alzheimer’s disease pathology. In contrast to amyloid, tau deposition correlates closely with
brain damage and the onset of clinical symptoms. Both amyloid and tau can now be measured
clinically by analyzing the cerebrospinal fluid after a spinal tap or using special PET scans to
show where these proteins are deposited in the brain.

In Parkinson disease and Lewy Body disease, alpha-synuclein is the abnormal protein. There are
no clinical tests available to test for alpha-synuclein.

Neurodegeneration, or brain damage

These biological changes ultimately result in brain damage, or neurodegeneration. This damage
can be measured using FDG-PET and brain MRI.

FDG-PET scans use a radiotracer to bind to sugar in the blood. Because sugar is used as energy
by the brain, the amount of the tracer going to certain brain regions is a sign of how active that
brain region is. Reduced activity indicates brain damage.

MRI scans can be used to measure the size of different brain regions. Brain regions that are
smaller than expected have atrophy, or brain damage. FDG-PET is more sensitive and may show
changes prior to the MRI. As the disease progresses, MRI changes become clearer.

Different types of dementia cause damage to different parts of the brain. In Parkinson disease,
damage occurs to dopamine neurons causing decreased dopamine transporter levels in the
basal ganglia on DAT scans. In Lewy Body disease, damage occurs in the occipital lobes causing
reduced activity on FDG-PET. In Alzheimer’s disease, brain damage occurs in memory areas
causing brain atrophy in the hippocampus on MRI, and reduced activity in the precuneus,
posterior cingulate, and lateral temporal-parietal lobes on FDG-PET. The patterns of which
brain regions are damaged can help to determine what specific disease is causing problems.

Clinical symptoms are linked to brain damage



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Clinical symptoms result from where brain damage occurs and the amount of brain damage. In
Parkinson disease, damage to dopamine neurons and basal ganglia circuits results in the typical
motor symptoms of slowness, rigidity, tremor, and difficulty walking. Damage to these circuits
can also cause cognitive impairment that is common in Parkinson disease, including slowness in
thought, speech, decision-making, and attention. In Lewy Body disease, brain damage causes
more extensive cognitive impairment, visual hallucinations, and fluctuations in attention and
arousal. In Alzheimer’s disease, brain damage causes memory problems.

Clinical symptoms progress as brain damage becomes more severe and spreads to new brain
regions. Brain damage occurs in a small number of brain regions in patients with mild cognitive
impairment and spreads to involve more brain regions in patients with early dementia. By the
severe or end-stage of dementia, brain damage is wide-spread throughout the brain.

Review of additional records

Medical Records

Mr. Brockman was hospitalized with a pseudomonas urinary tract infection spreading to the
blood (urosepsis) and delirium from 5/31/21-6/11/21. On exam, he was noted to have
fluctuating attention and arousal, visual hallucinations, and cognitive impairment with a score
of 10/30 on the MOCA test. On 6/7/21 Mr. Brockman reportedly had a fall while in the hospital
when he was confused and tried to get out of bed. A CT scan of the brain did not show any
damage or bleeding. He had an MRI on 6/6/21 that reported age-appropriate volume loss and
mild white matter hyperintensities. His delirium improved throughout his hospital stay with
treatment for his infection, although he still had a positive delirium screen on his day of
discharge (6/11/21).

Mr. Brockman had a urological surgery called a Uro-Lift on 6/24/2021. There were no reported
complications. There are not details regarding Mr. Brockman’s mental status in these records.

On 9/13/2021 Mr. Brockman presented to the Houston Methodist emergency room with right
elbow swelling after a fall several weeks beforehand.

Mr. Brockman was hospitalized with delirium and a Klebsiella urinary tract infection from 9/15-
18/2021. On admission he was disoriented, weak, and with decreased level of awareness. His
mental status improved with antibiotics. A CT head on 9/16/21 showed diffuse volume loss and
microvascular ischemic white matter changes. An EEG performed 9/17/21 showed that his
posterior dominant rhythm was low voltage and poorly sustained. He had beta activity in the
18-22 Hz range in all areas, often a sign of benzodiazepine medication use. Findings were felt to
be consistent with diffuse brain dysfunction without seizures.

Mr. Brockman had a follow-up appointment with his neurologist, Dr. Lai, on 10/7/2021. Dr. Lai
noted significant functional decline reported by Mrs. Brockman and Mr. Brockman’s caregiver
Frank. Mr. Brockman was reportedly able to feed and groom himself slowly but needed



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assistance with the remainder of his basic activities of daily living. On exam, Mr. Brockman
scored a 13/30 on the MoCA. Dr. Lai did not note any abnormalities in arousal or attention to
suggest ongoing delirium. Mood was stressed and depressed. Mr. Brockman did not have a
tremor but did have slowed movements, mild rigidity, and a narrow, shuffling, stooped posture
while walking. Dr. Lai diagnosed Mr. Brockman with Parkinson’s disease with associated
dementia, with decline in cognitive and neurological exam since his last visit. He increased Mr.
Brockman’s Sinemet to treat his motor symptoms. He did not make changes to his medications
for his cognitive impairment or sleep.

Evaluations by Drs. Agronin and Guilmette in July 2021

Mr. Brockman had evaluations performed by Dr. Thomas Guilmette, a neuropsychologist, on
July 16,2021, and Dr. Marc Agronin, a geriatric psychiatrist, on July 13th, 2021. Review of the
videos available from these interviews show a marked decline in Mr. Brockman’s demonstrated
cognitive capacities. He appeared confused as to the purpose of the evaluation and often
became tangential or nonsensical in his answers to questions. Given his profound level of
impairment and fluctuations during interview and cognitive testing, both Dr. Agronin and Dr.
Guilmette raised concerns that he might have had ongoing delirium during their evaluations.

Dr. Agronin performed a MOCA where Mr. Brockman scored a 9/28, 4 points lower than when I
administered this test in May 2021 and 1 point lower than when Mr. Brockman was severely
sick and delirious in the hospital in June 2021. Dr. Guilmette’s neuropsychological testing
showed profound decline across all comparable tasks between May 2021 and July 2021. Mr.
Brockman recalled 0 items from a word list, 1 item from a story, and 0 items from a figure after
a delay, near the lowest possible performance. On the Connors Continuous Performance Test
3, a test of sustained attention and vigilance, Mr. Brockman had extremely abnormal scores for
omissions, indicating that he often did not respond to the stimuli at all. He was unable to
complete the Trails Part A task that requires a patient to connect numbers in order, a task he
completed two months prior with Dr. Denney. He was unable to complete several executive
function tasks including the Stroop Color-Word task and 20 questions task from the D-KEFS. Dr.
Guilmette administered several performance validity tests. Mr. Brockman scored in the invalid
range on some but not all tests, which Dr. Guilmette interpreted as being more consistent with
a genuine cognitive impairment than malingering.

Dr. Guilmette had Mrs. Dorothy Brockman complete assessments regarding Mr. Brockman’s
current level of functional impairment using the AD8 dementia screening interview and the
standardized functional assessment questionnaire (FAQ). Mr. Brockman was reported to have
the highest impairment rating possible on the AD8 (8/8). Dr. Guilmette cites that a cutoff of 2 is
typically considered to support a diagnosis of dementia, with 8 therefore being at the level of
severe or end-stage dementia. Mr. Brockman was reported to have a score of 26/30 on the
FAQ. This is above dementia cutoffs scores cited by Dr. Guilmette ranging from 2-6 and again
suggests severe or end-stage dementia. It is unclear if these reported functional impairments
were related to Mr. Brockman’s physical impairments (i.e., weakness from hospitalizations,



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Parkinson’s disease, urinary issues) or cognitive impairment from ongoing delirium in addition
to cognitive impairment from dementia.

Evaluations by Drs. Dietz and Denney in October 2021

Drs. Dietz and Denney conducted an evaluation of Mr. Brockman on 10/20/2021. Mr. Brockman
was more impaired than in his May 2021 assessments. He was slow to respond and often
stated that he did not know the answers to questions he was asked. This was especially
apparent when asked about details of his indictment, where he answered that he didn’t recall
or know most of the details related to this. His responses were shorter and less detailed than in
May 2021. He had a general sense of many current events although lacking the specific details.
He was disoriented to the date although could accurately estimate the age of his grandson and
knew the current president. He provided much less details and understanding of his medical
care compared with the May 2021 evaluations. Compared with his evaluations from July 2021,
Mr. Brockman’s answers were more appropriate and he was not as tangential or nonsensical.

Lab testing indicated positive metabolites for trazodone, bupropion, and Seroquel, all
prescribed medications. Urinalysis showed negative leukocyte esterase and nitrate, 6-10 white
blood cells, and many bacteria. Urine culture was significant for >100,000 colonies of
pseudomonas aeruginosa and 50,000-100,000 colonies of coagulase-negative staphylococcus (a
common contaminant from the external skin).

Sleep study

Mr. Brockman had a sleep study on 8/12/2021. He again had evidence of obstructive sleep
apnea and had a CPAP mask placed and titrated to the appropriate settings. He had no
evidence of REM sleep disorder. The EEG during wakefulness did not have any reported
abnormalities.

MRI scans

Mr. Brockman had an MRI scan of the brain 7/30/2021. The reviewing neuro-radiologist’s
interpretation was “Moderate diffuse cerebral volume loss with proportional ventricular
predominance. Mild chronic microvascular ischemic change.”

MRI scans from 11/2/2018 and 7/30/21 were also analyzed quantitatively using a software
called Neuroreader. Neuroreader uses a computer algorithm to identify different brain regions
on the MRI scan. It then compares the size of these regions in a single patient to a database of
MRI scans from healthy persons without any neurological or cognitive disorders. Finally,
Neuroreader provides a percentile for the brain size for the patient compared to healthy
subjects of the same age and gender.

The MRI scan from 7/30/21 used a sequence specifically designed for Neuroreader, with a short
distance (1.2 mm) between brain slices that allows for more precise measurement. The



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software outputs a summary sheet. The summary sheet highlights brain regions with a volume
below the 25th percentile for age and gender. This cutoff percentile is arbitrary and does not
indicate that identified brain regions are necessarily abnormal. In general, values within one
standard deviation of the population average are considered normal, corresponding to the 16th
percentile. Scores greater than two standard deviations from the population average are
typically considered abnormal, corresponding to the 2.5th percentile. Mr. Brockman’s brain
volume in the temporal lobe was at the 23.8th percentile (specifically 21.94th percentile on the
right) and was at the 24.8th percentile in the right diencephalon on the July 2021 MRI scan.
These values fall within the normal range.

Neuroreader was also performed on the MRI scan from 11/2/2018. This scan had 1.5mm
between slices, and so was not optimized for Neuroreader’s algorithm. Results should therefore
be taken with more caution, especially when comparing results between the two scans. Mr.
Brockman’s brain volume was reported to be in the 23.4th percentile overall, at the 19.33rd
percentile in the amygdala (14.94th percentile in the right amygdala), 20.02nd percentile in the
putamen (23.98th percentile in the right putamen, 17.16th percentile in the left putamen, and
18.11th percentile in the caudate (19.41st percentile right caudate, 17.46th percentile left
caudate). Only the right amygdala volume was greater than one standard deviation from
average and none were greater than two standard deviations from average.

FDG-PET scans

Mr. Brockman’s FDG-PET scan from 3/12/21 was interpreted by the clinical neuroradiologist as
“mildly reduced uptake in the right parietal lobe… findings are very mild, but suggestive of early
neurodegenerative disease, either Alzheimer’s disease or Lewy Body Disease.”

Mr. Brockman’s FDG-PET scan from 8/24/21 was interpreted by the clinical neuroradiologist as
“mildly reduced uptake in the posterior temporal and parietal lobes bilaterally…Findings are
mild, but very suggestive of neurodegenerative disease, particularly Alzheimer’s disease.
Although statistically less likely, dementia with Lewy Bodies or Parkinson’s disease with
dementia can have a similar scan pattern.”

Dr. Maria Ponisio, a neuroradiologist and nuclear medicine radiologist, analyzed the FDG-PET
scans from 3/12/2021 and 8/24/2021 both qualitatively and using semi-quantitative analysis.
Like the Neuro-reader, semiquantitative analysis of FDG-PET scans using MIMneuro compares
levels of brain activity in a patient against brain activity levels in health control subjects.
Reported abnormal regions were two standard deviations below the population average,
corresponding to a percentile of 2.5%.

For the 3/12/2021 scan, Dr. Ponisio’s visual inspection noted reduced metabolism in the
cingulate cortex, precuneus, and the caudate bilaterally, as well as the right frontoparietal lobe.
Semiquantitative analysis noted abnormalities in the caudate, anterior cingulate, posterior
cingulate, and precuneus cortex bilaterally. Dr. Ponisio’s opinion is that these PET findings were



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most suggestive of early Alzheimer’s disease. She did not note significant extension of
abnormalities into the temporal-parietal lobes as would be seen in more advanced dementia.

For the 8/24/21 FDG-PET scan, Dr. Ponisio’s visual inspection again noted reduced metabolism
in the cingulate, precuneus cortex, and caudate nucleus bilaterally, as well as in the right
frontoparietal lobe. Semi-quantitative analysis noted abnormalities in the caudate, anterior
cingulate, posterior cingulate, and precuneus cortex bilaterally, as well as the left amygdala and
superior frontal gyrus. Dr. Ponisio again felt this was consistent with early but not severe
Alzheimer’s disease, with mild progression since the prior PET scan.

Amyloid PET scan 7/28/21

Amyloid deposits in the brain up to 15-20 years before patients develop clinical symptoms and
many older adults (80+) who are cognitively normal can have positive amyloid PET scans. Thus,
the presence and severity of amyloid detected on PET scan does not correlate with the degree
of cognitive impairment. Rather, a positive amyloid scan increases the likelihood that detected
cognitive changes are related to Alzheimer’s disease. A positive scan also increases the
likelihood for developing cognitive changes due to Alzheimer’s disease in the future, although
the timing of this change is difficult to predict. Mr. Brockman’s amyloid PET scan was positive,
indicating that he does have amyloid depositions in his brain.

Electroencephalogram (EEG) 9/2/2021

The normal background frequency of brain activity on EEG is 8-13 Hz, which is called the alpha
range. The theta range, from 4-7 Hz, is slower and may indicate nonspecific brain dysfunction.
Mr. Brockman’s background was mostly in the alpha range, but occasionally went to 7Hz, which
is at the higher end of the theta range. This was interpreted by the clinical neurologist reading
the study as “mildly abnormal video-EEG study characterized by diffuse slowing of the
background, a non-specific indicator of global cerebral dysfunction.” This pattern is unlikely to
be due to delirium because the reported slowing was mild and not always present. This EEG
pattern could be compatible with mild cognitive impairment or early dementia. This pattern is
not consistent with severe or end-stage dementia where more significant and consistent
abnormalities would be expected.

Medical Diagnoses and Opinion

Medical opinion regarding Mr. Brockman’s cognitive status prior to 6/18/21

At the time of my report dated 6/18/2021, I concluded that Mr. Brockman had a diagnosis of
Parkinson’s disease with mild cognitive impairment (MCI). My opinion regarding his diagnosis at
that time remains unchanged. This opinion was based on review of available records, including
that Mr. Brockman was diagnosed with Parkinson’s disease with MCI by his treating neurologist
Dr. Lai at his evaluation on 2/2/21, medical records indicating he had been fully independent
with functional activities at least until his hospitalization in March 2021, videos and transcripts



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of deposition testimony in 2019 where Mr. Brockman had no demonstrable cognitive
impairment, and from deposition testimony under oath from Tommy Barras, Mr. Brockman’s
closest work associate, indicating that he did not have concerns regarding Mr. Brockman’s
cognitive capacity to serve as CEO of Reynolds and Reynolds through his retirement in
November 2020. It is also based on my evaluation and review of the evaluations performed by
Drs. Dietz and Denney in May 2021.

Several possible areas of loss of functional independence were raised in May 2021, including
driving restrictions, changes to financial decision-making, and ability to assist counsel in his
defense. As I discussed in further detail in my report from 6/18/2021, I did not feel that there
was clear evidence for loss of functional independence because 1.) there were often conflicting
accounts of whether Mr. Brockman was able to function independently, 2.) it was unclear if
more recent functional limitations were related to physical impairments from medical issues
and not to from dementia; and 3.) Mr. Brockman often demonstrated the cognitive capacities
necessary to perform these functions independently in other contexts.

In summary, I continue to conclude that through my initial evaluations in May 2021, Mr.
Brockman had a diagnosis of Parkinson’s disease with mild cognitive impairment.

Medical opinion regarding Mr. Brockman’s cognitive status after 6/18/21

Mr. Brockman’s interview, cognitive testing, and reported functional declines in July 2021
indicated severe or end-stage dementia. This is markedly worse than his assessment in May
2021. There are three potential reasons for this change. First, Mr. Brockman may have had a
progression of his dementia, with hospitalizations for delirium causing more rapid progression.
Second, he might have still been delirious at the time of his evaluation in July 2021. Third, he
might have been exaggerating the severity of his cognitive impairment in July 2021.

It is unlikely that the rapid deterioration of Mr. Brockman’s cognitive impairment can be
entirely attributable to disease progression. The amount of deterioration is beyond what is
typically seen in the natural course of dementia. A history of delirium can increase the rate of
progression in patients with dementia but would still not account for the dramatic decline Mr.
Brockman had over only 2 months.

The amount of brain damage on Mr. Brockman’s MRI and PET scans is also much less than
would be expected in a patient with severe or end-stage dementia. Mr. Brockman’s FDG-PET
scan from 8/24/2021 shows findings expected at the earlier stages of dementia, and far less
than would be expected at the severe or end-stages of dementia. Further, there was only mild
progression of the FDG-PET changes from March 2021 to August 2021, far less than what would
be expected based on the dramatic change in his cognitive abilities. Finally, there was not
significant brain atrophy on his MRI scans, a later sign of more significant brain damage.

While there is not a perfect correspondence between neuroimaging findings and clinical
symptoms, there is nevertheless a strong relationship. Given the inconsistent and conflicting



Ex. 39, p. 8 of 11
reports of Mr. Brockman’s functional impairments and cognitive testing performance, the
extent of brain damage on neuroimaging is useful for estimating the degree of expected
cognitive impairment. Based on this imaging, one would expect Mr. Brockman to be at the MCI
or mild dementia stage and not at the severe or end-stage dementia stage.

It is therefore likely that something other than dementia progression contributed to the
dramatic change in Mr. Brockman’s cognitive impairment between May 2021 and July 2021. It
would be atypical, but not impossible, for residual delirium to persist for one month following
his hospitalization for sepsis. His hospitalization for the Uro-Lift procedure and the anesthesia
he received as part of this procedure could also contribute to delirium, although delirium
during this hospitalization is not documented in the available medical records. His EEG from
9/2/2021 indicates that he was no longer delirious at that date but would not address whether
he was delirious at the time of his evaluations in July.

Whether due to continued delirium, exaggeration of symptoms, or some other reason, the July
2021 assessments do not accurately reflect Mr. Brockman’s true cognitive and functional
capacities related to dementia.

Mr. Brockman was subsequently evaluated by Drs. Dietz and Denney in October 2021. Although
not as severe as in July 2021, his cognitive and functional impairment continued to be in the
severe or end-stage dementia range. During the October 2021 interview Mr. Brockman did not
have fluctuations in arousal, attention, or profound confusion to suggest that he was delirious.
Mr. Brockman did have bacteria growing in his urine, but he did not describe any symptoms of
a urinary tract infection and there was no evidence of significant inflammation in his urinalysis
(his white blood cell count was not elevated, and his leukocyte esterase level was negative). I
think this is asymptomatic bacteriuria rather than a urinary tract infection and do not believe it
contributed significantly to his cognitive symptoms during that evaluation.

Given his age, recent hospitalizations for delirium, the expected disease progression, and
neuroimaging results, it is possible that Mr. Brockman is now in the dementia stage. However,
it is unlikely that Mr. Brockman would be at the severe or end-stage dementia as his most
recent evaluations would suggest. While it is possible that Mr. Brockman had ongoing delirium
during his July assessments, delirium was unlikely during his October assessments.

At the level of cognitive impairment expected based on the natural disease course and Mr.
Brockman’s neuroimaging, Mr. Brockman could be either competent or incompetent to assist in
his defense. I do not think this can be determined currently because I do not think his recent
assessments accurately reflect his true level of cognitive impairment.

In summary, Mr. Brockman’s level of cognitive impairment is beyond what would be expected
based on the natural disease progression and his neuroimaging findings. It is reasonable
given his hospitalizations for delirium, natural disease course, and neuroimaging that Mr.
Brockman has progressed to the dementia stage, but it is unlikely that he would be at the
severe or end-stages of dementia as indicated by his recent assessments. While ongoing



 Ex. 39, p. 9 of 11
delirium could have contributed to his July 2021 performance, delirium was unlikely to have
contributed to his October 2021 evaluations. I do not think Mr. Brockman’s competency can
be determined without knowing the true degree of his cognitive impairment.

Medical opinion regarding Mr. Brockman’s underlying diagnosis

Mr. Brockman has a clinical diagnosis of Parkinson’s disease supported by his clinical exam
findings and dopamine transporter SPECT scan.

Mr. Brockman has Parkinsonism but not the other core clinical criteria for a diagnosis of Lewy
Body dementia, including no REM sleep disorder, no well-formed visual hallucinations, and no
significant fluctuations in arousal and attention. Additionally, his FDG-PET scan did not show the
occipital hypometabolism most characteristic of Lewy Body dementia. Mr. Brockman therefore
does not meet criteria for Lewy Body dementia.

Mr. Brockman’s positive amyloid PET scan alone is not useful in estimating his expected degree
of cognitive impairment but does increase the likelihood that his cognitive symptoms are
related to Alzheimer’s disease. Tau imaging was not performed but would further support the
conclusion that Mr. Brockman’s symptoms are related to Alzheimer’s disease. Finally, the
abnormalities on Mr. Brockman’s FDG-PET scans in the precuneus and cingulate cortices are
consistent with the locations of brain damage often seen in early Alzheimer’s disease. Thus,
Mr. Brockman has the biological changes and early neurodegenerative changes that can be
seen in patients with of Alzheimer’s disease.

In summary, Mr. Brockman has a diagnosis of Parkinson’s disease. It is plausible that Mr.
Brockman’s also has a co-morbid biological diagnosis of Alzheimer’s disease. It is unclear
whether Parkinson’s disease, Alzheimer’s disease, or both diseases are contributing to his
current cognitive impairment. Amyloid PET scans can be positive in many cognitively normal
subjects and is therefore not useful in estimating Mr. Brockman’s expected degree of
cognitive impairment.

Medical opinion regarding Mr. Brockman’s risk for future progression

Mr. Brockman has evidence of mild progression of his FDG-PET scan abnormalities between
March 2021 and August 2021. Mr. Brockman has also had three hospitalizations for delirium in
in the last year. Delirium is a risk factor for more rapid progression of cognitive symptoms in
patients with neurodegenerative disorders.

Conclusions:

   1.) It continues to be my opinion that Mr. Brockman had a diagnosis of Parkinson disease
       with mild cognitive impairment through his May 2021 evaluations.




 Ex. 39, p. 10 of 11
   2.) Based on the expected natural disease course, neuroimaging findings, and
       hospitalizations for delirium, it is plausible that Mr. Brockman would have progressed
       from the MCI to dementia stage. However, I do not think it is likely that he would be at
       the severe or end-stages of dementia.

   3.) The progression of cognitive impairment between May 2021 and July 2021 is well
       beyond what would be expected over a two-month period in a patient with dementia
       even accounting for a history of delirium, and well beyond what would be expected
       given his neuroimaging. Whether due to continued delirium, exaggeration of
       symptoms, or some other reason, the results of his July 2021 evaluations are not
       accurate representations of Mr. Brockman’s cognitive and functional status.

   4.) In his October 2021 evaluation, Mr. Brockman was not delirious, but continued to
       demonstrate cognitive impairment beyond what would be expected from his dementia
       based on the natural disease progression and his neuroimaging findings.

   5.) I do not believe that his current assessments accurately reflect his true level of
       cognitive impairment and am therefore unable to determine whether his cognitive
       impairment is severe enough to make him incompetent to assist his defense.

   6.) It is plausible that Mr. Brockman has co-morbid Alzheimer’s disease, but the amyloid
       PET scan is not useful in estimating his expected degree of cognitive impairment as
       this test can be positive in cognitively normal subjects.

   7.) Mr. Brockman is at increased risk for progression over time due to his history of
       delirium. He is also at risk for future episodes of urinary infections and delirium.

All opinions are to a reasonable degree of medical certainty. Thank you for referring this very
interesting matter for my evaluation and report.

Sincerely,




R. Ryan Darby, MD

Assistant Professor of Neurology
Vanderbilt University Medical Center




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Gov. Ex. 40
                    EXHIBIT 40

Darby May 2021 Exam




                                  GOVERNMENT
                                    EXHIBIT

                                 4:21-CR-009-GCH
                                       No. 40



Ex. 40, p. 1 of 1
Gov. Ex. 40A
                 EXHIBIT 40A

          Darby May Exam
             (Excerpt)
Ex. 40 Timestamp: 18:47 to 21:15




                                GOVERNMENT
                                  EXHIBIT

                               4:21-CR-009-GCH
                                    No. 40A


Ex. 40A, p. 1 of 1
Gov. Ex. 41
                   AL

UTHealth                                                                                               PASIVI
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McGovern                                                                                               Facility Member"
mk.,dicAl School                        Memorial Hermann Hospital Texas Medical Center
                                                       Sleep Disorders Center
The University of Texas
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            , , Ger.,nt .10313ifin
            ,                                    6411 Fannin,Houston Texas 77030
                                                 Pb: 713.704.2337 Fax: 713.704.5586

                                                 POLYSOMNOGRAPHY REPORT


Patient name: BROCKMAN, ROBERT                              MR Number:37903111-7500       Study Date:4/29/2021
Date of birth:                       1941                   Age (years):79 year           Gender: Male
Height: 6' 1"                                               Weight: 175.0 lbs             BMI:23.2 kg/m2
Referring Physician: Ryan Darby MD


HISTORY

ROBERT BROCKMAN is a 79 year-old man with medical conditions including atrial fibrillation, arthritis, thyroid disease
and dementia (on treatment for a Parkinsonian syndrome) who has been referred for the evaluation of REM-behavior
disorders. He goes to bed at 10.30 pm and wakes up at 7.30 am. He reports loud snoring, dry mouth, unrefreshing
sleep, leg kicking during sleep, difficulty concentrating during the day, lying in bed worrying about sleep, and frequent
nighttime awakenings. The sleep is further disturbed by nocturia, and back pain. Sleep walking, teeth grinding,
nightmares, and acting out of dreams have been described. Hypnogogic/hypnopompic hallucinations were also
endorsed. He drinks 2 caffeinated beverages a day, does not smoke and does not drink alcohol. Pertinent medications
the patient is currently taking include: Carbidopa/Levodopa, Eliquis, Flomax,trazodone,synthyroid and bupropion.The
Epworth sleepiness score (ESS)is 14(a score greater than 10 is consistent with abnormal daytime sleepiness). An RBD
montage was usedfor this sleep study.

                                                                                                            GOVERNMENT
                                                                                                              EXHIBIT
RESULTS
                                                                                                           4:CR-21-009-GCH
                                                                                                                No. 41
Sleep Characteristics

The lights were turned off at 08:46:47 PM. The total recording time (TRT) was 425.2 minutes and the total sleep time
(TST) was 206.0 minutes with a low sleep efficiency of 48%. The patient complained ofback pain, and was not able to
sleep through the entire sleep study. There was a short sleep latency of 1.9 minutes with a normal REM latency of 21.0
 minutes. Sleep architecture was characterized by 7% Ni sleep,52% N2 sleep,27% N3(delta)sleep and 14% REM sleep.
The duration of REM sleep (29.5 minutes) may have been insufficient for a valid assessment REM-sleep related
disorders. The patient slept in the supine position during the entire sleep study. The arousal index was 36.4 arousals
per hour of sleep.

Respiratory Analysis

There was mild snoring during the polysomnographic assessment with 28 obstructive apneas, 5 option 1B hypopneas
(associated with a ?.4% Desaturation)and 118 option 1A hypopneas scored (associated with a  Desaturation and/or
 Arousal). The Obstructive Apnea Hypopnea Index(AHI) was 9.6 obstructive apneas, and option 1B hvpopneas/hour
of sleep(CMS criteria — abnormal considered >5 events/hour ofsleep) with a Respiratory Disturbance Index (RDI) of


Patient Name: BROCKMAN, ROBERT                          Study Date: 4/29/2021                               Page 1 of 3


                                                                                                           MHH-0000001

Ex. 41, p. 1 of 7
42.5 obstructive apneas and 1A+1B hypopneas /hour of sleep (AASM criteria), indicating severe obstructive sleep
apnea.

The baseline awake Sp02 was 95%, with an average Sp02 of 94% during sleep, 94% during REM, and an oxygen
saturation nadir of 89%. No sleep time was spent below an Sp02 of88% and the Oxygen Desaturation Index(001) was
15.4 desaturations/hour of sleep. The oxygen desaturation events were brief and not sustained. The baseline awake
end tidal CO2 was 43 torr (abnormal >45 torr), averaged 41.5 torr during total sleep, 40.6 torr during REM sleep, and
was above 50 torr for 0.5 minutes of total sleep time (abnormal is considered >10 torr above baseline and greater than
50 torr far >10 minutes or >55 torr for >10 minutes regardless of baseline). This is not consistent with sleep-related
alveolar hypoventilation.

Cardiac Analysis

The EKG demonstrated normal sinus rhythm with an average heart rate during sleep of 71 beats/minute.

EEG Characteristics

The EEG did not demonstrate any significant abnormalities.

Limb Movement/EMG Analysis

There were no significant periodic limb movements during sleep. The periodic limb movement index (PLMI) was 11.1
limb movements/hour of sleep (normal <15 limb movements/hour of sleep). There was no loss of normal muscle
atonia during REM sleep. In addition, there was no videographic evidence of dream enactment behavior or other
abnormal movements.

DIAGNOSIS

G47.33 Obstructive Sleep Apnea — severe
No REM sleep Behavior disorder


RECOMMENDATIONS

    1. The patient meets the diagnostic criteria for severe obstructive sleep apnea. We recommend a follow up
       polysomnography for titration of continuous positive airway pressure (CPAP) as first line therapy for
       obstructive sleep apnea in adults and to assess an optimal pressure to treat his severe OSA.

    2. No REM sleep behavior was seen during this sleep evaluation however the diagnosis may have been missed
      (only 29.5 minutes of REM sleep recorded). We recommend that the patient return for an in lab titration of
       CPAP for the optimal treatment of their severe OSA. An RBD montage can be ordered during the titration
       study as more REM sleep may be experienced after the sleep apnea is treated.

    3. Patient demonstrated a low sleep efficiency (total sleep time of 3 hours) due to back pain and was unable to
       sleep for the entire sleep study. We would recommend optimization of pain and other sleep disruptors to
       improve the overall duration and quality of sleep.

    4. The patient should be cautioned about factors that may potentially exacerbate snoring and sleep related
       breathing problems, such as CNS depressants(alcohol and sedatives-hypnotics) especially at bedtime.



Patient Name: BROCKMAN, ROBERT                 Study Date: 4/29/2021                                      Page 2 of 3


                                                                                                        MHH-0000002

Ex. 41, p. 2 of 7
     5. We strongly recommend optimization of the sleep schedule/duration because sleep deprivation can be a major
        contributor to daytime sleepiness.



                                            Interpreted by Kornai lmtiaz MD,hut Sargsyan, M.D.



                         Attending Phy "cian:                                                          , M.D., Date: 5/04/2021

                                             Ruckshanda Majid, MD., FCCP, D.ABSM
                                     Co-Medical Director Memorial Hermann Sleep Center
                        Associate Professor: Department of Pulmonary, Critical Care and Sleep Medicine
                        McGovern Medical School. University of Texas. Health Sciences Center at Houston
PROCEDURE

A baseline polysomnogram was performed (CPT 95810). The nocturnal polysomnogram (NPSG)included the recording of electroencephalogram (EEG): F4-M1, F3-
M2, C4-M1, C3-M2,02-M1,01-M2, electrooculogram (EOG), submental and anterior tibialis electromyogram (EMG), electrocardiogram (EKG), airflow by nasal
pressure, and oral thermistor, continuous capnography with end tidal CO2, abdominal and chest wall excursion using impedance plethysmography and oxygen
saturation by pulse oximetry with the continued presence of a sleep technologist. Recordings were staged and scored manually according to the American Academy
of Sleep Medicine(AASM) most recent published guidelines and interpretations made based on both the ICSD-3 2014 and CMS criteria.


DEFINITIONS:

The study was scored according to 2018(Version 2.5) American Academy of Sleep Medicine (AASM) adult criteria and interpreted according to the (2014) Third
Edition of the International Classification of Sleep Disorders(ICSD-3).
Obstructive apnea: Drop in thermal sensor by greater than 90% for 10 seconds with continued respiratory effort.
Central apnea: Drop in thermal sensor by greater than 90% for 10 seconds with absent respiratory effort.
Option 1B hypopneas characterized by 30% decrease in airflow accompanied by 4% oxygen desaturation were scored according to current CMS and 2018 AASM
(Version 2.5) and expressed in the Apnea Hypopnea Index(AHH.
 Option 1A hypopneas characterized by 30% decrease in airflow accompanied by 3% oxygen desaturation or arousal were scored according to the 2018 AASM
(Version 2.5)and expressed in the Respiratory Disturbance Index (RDI).
 Respiratory effort related arousals(RERAs): Drop in nasal pressure or flattening of the flow lasting equal or more than 10 seconds and does not meet the criteria
for a hypopnea (drop in flow by 30%)leading to an arousal. These events are also included in the RDI.




Patient Name: BROCKMAN, ROBERT                                   Study Date: 4/29/2021                                                           Page 3 of 3


                                                                                                                                               MHH-0000003

Ex. 41, p. 3 of 7
                     Memorial Hermann Hospital Texas Medical Center
                                 Sleep Disorders Center
                                        6411 Fannin, Houston, TX 77030
                                          Phone: 713.704.2337 Fax: 713.704.5586

                                            POLYSOMNOGRAPHY REPORT
 Patient:      BROCKMAN, ROBERT                                            Study Date:      4/29/2021
 DOB:               1941                                                   Height:          6' 1" in.
 MR#:          37903111-7500                                               Weight:          175.0 lbs.
 Gender:       Male                                                        Age:             79 year


 Referring Physician: Ryan Darby MD
 Interpreting Physician: Komal Imtiaz MD, Lilit Sargsyan MD


Sleep Summary:                                                                                       °A. Sleep Time
Bedtime:                                                                                                         NREM 1
                                                  08:46:47 PM                                        REM
                                                                                                                  6.8%
Risetime:                                         03:52:01 AM                                       14.3%

Total Recording Time:                              425.2 min.
Total Sleep Time:                                  206.0 min.
Sleep Efficiency:                                    48.4%
Sleep Onset Latency:                                                                       NREM 3
                                                    1.9 min.
                                                                                           27.4%
REM Onset Latency                                  21.0 min.




Sleep Stage Summary:
Stage                     Latency (min)              Duration (min)               % TST
WASO                                                     217.0
Stage N1                       0.0                        14.0                     6.8%
Stage N2                       3.5                       106.0                     51.5%
Stage N3                      51.0                        56.5                     27.4%
Total NREM                                               176.5                     85.7%
REM                           21.0                        29.5                     14.3%


 Hypnogram     W—
               R—
               N1—
               N2—
               N3
lime of Day                                                                       1                                              1
(hrrn:s)       20:96:56     21:29:26   22:11:56      22:54:26   23:36:56      00:19:26   01:01:56     01:44:26    02:26:56   03:09:26   03:5
 Time of Day
(h:m:s)        20:46:56     21:29:26   22:11:56      22:54:26   23:36:56      00:19:26   01:01:56     01:44:26    02:26:56   03:09:26   03:5




                                                                                                                                Page 1 of 4


                                                                                                                              MHH-0000004

 Ex. 41, p. 4 of 7
   Patient: BROCKMAN,ROBERT                                          MR#: 37903111-7500                                                 Study Date: 4/29/2021

   Respiratory Events Summary:
                                RERA              Obs.           Mixed          Central                Hypopnea                      Al    Obs. AN1              RDI
                                                 Apnea           Apnea          Apnea                 1A        1B                (C+0+M) (0+M+H,B)
REM Events                                         6                                                  15
      Max (secs)                                  43.2                                                    202.3
      Mean (secs)                                 37.7                                                     44.1
      Index(/hr)                                  12.2                                               30.5                             12.2          12.2         42.7

NREM Events                                        22                                                103               5
      Max (secs)                                  44.0                                                      50.5
      Mean (secs)                                 27.5                                                      31.1
      Index(/hr)                                   7.5                                               35.0           1.7               7.5           9.2          42.5

Event Totals                                      28                                                 118             5
Index Totals                                      8.2                                                34.4           1.5               8.2           9.6          42.5


   Respiratory Events by Body Position:
            (min.)         %TST                          Apneas                            Hypopneas           Total            Al    Obs. AHI                 Arousal
                                                Obs.     Mixed  Central                    1A    1B           Events         (C+0+M) (0+M+H1B)                  Index
Back         206.0         100.0%                28        -                               118    5             146            8.2      9.6                      36.4
Prone                         -                   -        -       -                        -     -              -               -       -
Left             -            -                   -                                         -     -              -               -       -                        -
Right            -                                -          -              -               -     -              -               -       -
Up               -               -                -          -                              -     -              -               -       -                        -
Total        206.0                              28           _              -              118        5            128            8.2              9.6          36.4



  Oximetry Summary:
  ()sat    110

                     90-

                     70-

                     50
   Time of Day
   (h:m:s)           20:46:56        21:29:26     22:11:56       22:54:26       23:36:56     00:19:26       01:01:56       01:44:26     02:26:56    03:09:26    03:5
   Time of Day                                        1              1                           I             I              I             1           i
   (h:mrs)           20:46:56        21:29:26     22:11:56       22:54:26       23:36:56     00:19:26       01:01:56       01:44:26     02:26:56    03:09:26    03:5


          Sp02               Min                  Mean                 Max
          Sleep             88.9%                 94.2%               98.0%                             Min. TST Sa02 < 90%:                   4.6 min.
           REM              91.4%                 94.4%               97.3%                             %TST Sa02 < 90%:                       1.1%
          NREM              88.9%                 94.2%               98.0%
          Wake              50.6%                 94.5%               99.4%                             Min. TST Sa02 < 88%:                   3.0 min.
        All Stages          50.6%                 94.3%               99.4%                             VoTST Sa02 < 88%:                      0.7%

         EKG                    Min               Mean                 Max
         Sleep                  49_0              72.8                 83.0
         REM                    53.0              73.9                 80.0
         NREM                   49.0              72.7                 83.0
         Wake                   32.0              65.4                 87.0


                                                                                                                                                         Page 2 of 4


                                                                                                                                                     MHH-0000005

   Ex. 41, p. 5 of 7
Patient: BROCKMAN,ROBERT                 MR#: 37903111-7500                           Study Date: 412912021

Limb Movement Summary:
                                                      # Events      Index
                            #PLMs- REM                    9          18.3
                            #PLMS NREM                   29          9.9
                            #PLMs                        38          11.1
                            #PLMs with Arousal           0.3         0.3


Arousal Summary:
                                         NREM               REM                         Total
        Source of Arousals          Count   Index       Count Index                Count Index
        Spontaneous                   7       2.4         4      8.1                 11       3.2
        Apnea                         8       2.7         3     6.1                  11       3.2
        Hypopneas                    85      28.9        12     24.4                97       28.3
        RERAs                         -        -          -       -                   -        -
        Snoring                       -                   -                           -        -
        Desaturations                45      15.3         8     16.3                53       15.4
        Periodic Limb Movement        1       0.3         -       -                   1       0.3
        Total Arousals               101     34.3        19     38.6                120      35.0


END TIDAL CO2
                        Wake            NREM              REM                  TST                  TIB
Max EtCO2               53_6             52.6             52.0                 52.6                 53.6
Mean EtCO2              43.0             41.7             40.6                 41.5                 42.3
                                                 94   min          %        min       %       min          %
                     min      %      min
> 60 mmHg:           0.0    0.0%      0.0    0.0%     0.0        0.0%        0.0    0.0%       0.0     0.0%
55 -60 mmHg:         0.0     0.0%     0.0    0.0%     0.0        0.0%        0.0    0.0%       0.0     0.0%
50 - 55 mmHg:        2.1     0.9%     0.5    0.3%     0.0        0.1%        0.5    0.2%       2.6     0.6%
45 - 50 mmHg:        38.7   17.6%    39.9    22.6%     1.2       4.0%       41.1    19.9%     79.8     18.8%
40 - 45 mmHg:       137.3   62.5%    81.1    45.9%    17.4       58.9%      98.5    47.8%    235.7     55.4%
35 - 40 mmHg:       24.0    10.9%    33.1    18.8%    7.8        26.6%      41.0    19.9%    65.0      15.3%
0 - 36 mmHg:          7.5    3.4%    15.2     8.6%    2.2         7.6%      17.5     8.5%     24.9      5.9%




                                                                                                    Page 3 of 4


                                                                                               MHH-0000006

Ex. 41, p. 6 of 7
Patient: BROCKMAN,ROBERT                                                              MR#: 37903111-7500                                                 Study Date: 4(29/2021

                                                                                          Hypnograms:
HypnograM            W—
                      R—
                     N1—
                     N2—
                     N3
 Time of Day                                                                                                                                 01:44:26    02:26:56   03:09:26   03:5
                     20:46:56         21:29:26            22:11:56             22:54:26                   23:36:56     00:19:26   01:01:56
(h:m:s)
 Body Position
                                                                                                                                               •••••,'
                    Left—
                  Prone—
                  Right—
                 Su ins—
                 Upright
Time of Day                                                                                                                                  01:44:26    02:26:56   03:09:26   03:5
                      20:46:56        21:29:26            22:11:56             22:54:26                   23:36:56     00:19:26   01:01:56
(h:m:s)
 OSat               110

                     90-

                     70-

                     50
Time of Day                                                                                                                                                                    03:5
                      20:46:56         21:29:26     22:11:56                   22:54:26                   23:36:56     00:19:26   01:01:56   01:44:26    02:26:56   03:09:26
(h:m:s)                                  rm IMI lul lvelllllallll 1                            III
 Arousal                    tl                                             S Ii   I   1   Wi         II          II"   11114

Time of Day               1
                      20:46:56         21:29:26            22:11:56            22:54:26                   23;36:56     00:19:26   01:01:56   01:44:26    02:26:56   03:09:26   03:5
(1-1:m:s1
 Central Apnea

 Mixed Apnea

Obstructive
Apnea                                      11
lime of Day
                 20:46:56              21:29:26            22:11:56            22:54:26                   23:36:56     00:19:26   01:01:56   01:44:26    02:26:56   03:09:26   03:5
{h:m:s)
Central Hypopnea

 Mixed Hypopnea

Obstructive
 Hypopnea                        111 1 I        1 1 11111111111111111 11 1 I          1 11 1 1 II 11
Time of Day
                      20:46:56         21:29:26            22:11:56            22;54:26                   23:36:56     00:19:26   01:01:56   01:44:26    02:26:56   03:09:26   03:5
(h:m:s)
 RERA
Time of Day
 ih•rn•
 Limb Movement
                      20:46;56
                          W I Ili
                                       21.2976
                                                           22'11111 1                            11 21."initfi n'TnAtualliliq'illimm 11.00'in HIERi5naludrIPII lailIN
Time of Day                                                                                                       1          I           I        I       1          1
                      20:46:56         21:29:26            22:11:56            22:54:26                   23:36:56     00:19:26   01:01:56   01:44:26    02:26:56   03:09:26   03:5
(h:m:s1
Pulse Rate           85-
                     65-
          bpm
                     45-
                     25
 Time of Day
(h:m:s)               20:46:56         21:29:26            22:11:56            22:54:26                   23:36:56     00:19:26   01:01:56   01:44:26    02:26:56   03:09:26   03:5


 EtCO2
                     80-
                     60-
      mm Hg          40— ilfr0000011
                     20-
                      0
                                                                                                                                                                           tr"
Time of Day
(h:m:s)               20:46:56         21:29:26            22:11:56            22:54:26                   23:36:56     00:19:26   01:01:56   01:44:26    02;26:56   03:09:26   03:5




                                                                                                                                                                        Page 4 of 4


                                                                                                                                                                    MHH-0000007

Ex. 41, p. 7 of 7
Gov. Ex. 42
                •
  UTHealth                                                                                              PASI

  McGovern                                                                                                  ACCREDITED
  Medical School                             Memorial Hermann Hospital Texas Medical Center              Facility Member'
 The tonivepoity of Texas
                                                            Sleep Disorders Center
  air./tt 5.cia.nor, Ce.flytStlffl$tfl.
                                                      6411 Fannin,Houston Texas 77030
                                                      Ph: 713.704.2337 Fax: 713.704.5586

                                                           TITRATION REPORT

 Patient name: BROCKMAN, ROBERT                                   MR Number: 37903111-7501   Study Date:8/12-13/2021
 Date of birth:                           1941                    Age(years):80              Gender: Male
 Height: 6'                                                       Weight: 175 lbs            MI:24 kg/m2
 Referring Physician: Ryan Darby, MD

 HISTORY

 ROBERT BROCKMAN is an 80-year-old man with atrial fibrillation, and dementia (on treatment
                                                                                                 for a Parkinsonian
 syndrome) who was previously evaluated at the Memorial Hermann Hospital Sleep Disorders Center
                                                                                                     for obstructive
 sleep apnea and REM-behavior disorder(RBD). He underwent a nocturnal polysomnography(NPSG)with
                                                                                                      RBD montage
 on 4/29/2021 and was diagnosed with severe obstructive sleep apnea with an Obstructive Apnea Hypopnea
                                                                                                              Index
(AHI)of 9.6 apneas and hypopneas/hour of sleep, a total Respiratory Disturbance Index (tRDI)
                                                                                                of 42.5 obstructive
 respiratory events/hour of sleep, and an oxygen saturation nadir of 89%. No REM sleep
                                                                                          without atonia was seen
although he had only 29.5 minutes of REM sleep which may have been insufficient for a valid assessmen
                                                                                                       t of RBD. He
 now returns for titration of continuous positive airway pressure (CPAP) with RBD montage. The
                                                                                               Epworth sleepiness
score (ESS) at the time of the initial PSG was 14 (a score greater than 10 is consistent
                                                                                           with abnormal daytime
sleepiness).
                                                                                                             GOVERNMENT
                                                                                                               EXHIBIT
 RESULTS
                                                                                                            4:21-CR-009-GCH
Sleep Characteristics                                                                                             No. 42


 The lights were turned off at 10:30:08 PM.The total recording time (TRT) was 412.7 minutes
                                                                                               and the total sleep time
(TST) was 259 minutes with a low sleep efficiency of 62.8%. There was a normal sleep latency
                                                                                                 of 16.9 minutes with a
 normal REM latency of 157.9 minutes. Sleep architecture was characterized by 15% Ni
                                                                                           sleep, 63% N2 sleep, 4% N3
(delta) sleep and 18% REM sleep. The duration of REM sleep(47 minutes) was adequate for
                                                                                               a valid titration of CPAP.
The patient slept in the supine position for the entirety of the study. The arousal index
                                                                                          was 36.8 arousals per hour of
sleep.

Respiratory Analysis

The patient was placed on CPAP and the pressure was gradually increased to treat the
                                                                                      obstructive apneas, hypopneas
and snoring.The patient used a medium ResMed AirTouch nofull face mask during the titration.
                                                                                                  The maximum CPAP
pressure used was 15 cm H20 but the patient did not have any sleep on that pressure.Sleep
                                                                                           efficiency was poor overall.
The obstructive respiratory events were most controlled at CPAP 12 cmH20. At this pressure,
                                                                                             the residual AHlwas 11.7
and supine REM sleep was achieved although this is not a therapeutic pressure. The patient
                                                                                           tolerated the titration. The
minimal Sp02 demonstrated on the optimal PAP pressure used was 92.8%.


Patient Name: BROCKMAN, ROBERT                              Study Date: 8/12/2021                           Page 1 of 3


                                                                                                            M HH-0000008

Ex. 42, p. 1 of 12
Cardiac Analysis

The EKG demonstrated normal sinus rhythm with an average heart rate during sleep of 65.8 beats/minute. No
arrhythmias were noted.

EEG Characteristics

The EEG did not demonstrate any significant abnormalities. The posterior dominant rhythm was 8.7 Hz.

Limb Movement/EMG Analysis

There were no significant periodic limb movements during sleep. The periodic limb movement index (PLMI) was 2.1
limb movements/hour of sleep (normal <15 limb movements/hour of sleep). There was no loss of normal muscle
atonia during REM sleep. In addition, there was no videographic evidence of dream enactment behavior or other
abnormal movements.




DIAGNOSIS

G47.33 Severe Obstructive Sleep Apnea improved with PAP therapy



RECOMMENDATIONS

    1. Treatment with auto-titrating positive airway pressure(APAP)at 12-20 cm H20 during sleep is recommended.
       The patient used a medium ResMed AirTouch F20 full face mask while in the laboratory. The patient will
       benefit from close follow up with evaluation of data download with PAP use. This will help ensure adequate
       treatment and resolution of underlying OSA. This will also help monitor for central events and a need for a
       repeat titration study.

    2. No REM sleep without atonia was observed during this study.

    3. The patient should be cautioned about factors that may potentially exacerbate snoring and sleep related
       breathing problems, such as CNS depressants (alcohol and sedatives-hypnotics) especially at bedtime.

    4. The patient should also be cautioned about driving and operating dangerous machinery until the sleepiness is
       eliminated if daytime sleepiness is endorsed.

    5. We strongly recommend optimization ofthe sleep schedule/duration because sleep deprivation can be a major
       contributor to daytime sleepiness.

    6. Follow up with referring physician to review study results and treatment options.

    7. The patient may be seen for a post-evaluation subspecialty consultation to discuss the above treatment
        modalities and follow subsequent usage data at the University of Texas — Houston Sleep Clinic(832)325-7222,
        University of Texas — Bellaire Sleep Clinic at(713) 572-8122, or the University of Texas — Sienna Village Clinic
       (713)486-1200.



 Patient Name: BROCKMAN, ROBERT                Study Date: 8/12/2021                                       Page 2 of 3


                                                                                                         MHH-0000009

Ex. 42, p. 2 of 12
                                     Interpreted by Sarah Beshay, MD and Reeba Mathew, MD, FCCP




                                Attending Physician:                                                   , M.D., Date 08/16/21
                                                         Reeba Mathew MD,FCCP
                                       Co-Medical Director, Memorial Hermann TMC Sleep Center
                               Associate Professor, Division of Pulmonary, Critical Care and Sleep Medicine
                             McGovern Medical School at University of Texas Health Sciences Center at Houston



PROCEDURE

A polysomnogram with constant airway pressure (PAP) titration was performed (CPT 95810). The nocturnal polysomnogram (NPSG) included the recording of
electroencephalogram (EEG): F4-M1, F3-M2, C4-M1, C3-M2, 02-M1, 01-M2, electrooailogram (ECG), submental and anterior tibialis electromyogram (EMG),
electrocardiogram (EKG), airflow by pneumotachometry, abdominal and chest wall excursion using impedance plethysmography and oxygen saturation by pulse
oximetry with the continued presence of a sleep technologist. Recordings were staged and scored manually according to the American Academy of Sleep Medicine
most recent published guidelines and interpretations made based on both the ICSD-3 2014 and CMS criteria *(refer to definitions at the end of the report).


*DEFINITIONS:

The study was scored according to 2018(Version 2.5) American Academy of Sleep Medicine(AASM) adult criteria and interpreted according to the(2014) Third
 Edition of the International Classification of Sleep Disorders(ICSD-3).
Obstructive apnea: Drop in thermal sensor by greater than 90% for 10 seconds with continued respiratory effort.
Central apnea: Drop in thermal sensor by greater than 90% for 10 seconds with absent respiratory effort.
Option 1B hypopneas characterized by 30% decrease in airflow accompanied by 4% oxygen desaturation were scored according to current CMS and 2018 AASM
(Version 2.5)and expressed in the Apnea Hypopnea Index (AHI).
Option IA hypopneas characterized by 30% decrease in airflow accompanied by 3% oxygen desaturation or arousal were scored according to the 2018 AASM
(Version 2.5)and expressed in the Respiratory Disturbance Index (RD!).
 Respiratory effort related arousals (RERAs): Drop in nasal pressure or flattening of the flow lasting equal or more than 10 seconds and does not meet the criteria
for a hypopnea (drop in flow by 30%)leading to an arousal. These events are also included in the RD!.




Patient Name: BROCKMAN, ROBERT                                   Study Date: 8/12/2021                                                            Page 3 of 3



                                                                                                                                                MHH-0000010

Ex. 42, p. 3 of 12
               Memorial Hermann Hospital Texas Medical Center
                           Sleep Disorders Center
                              6411 Fannin, Houston, TX 77030
                               Phone: 713.704.2337 Fax: 713.704.5586

                                        TITRATION REPORT

Patient:   BROCKMAN, ROBERT                        Study Date:   8/12-13/2021
DOB:            1941                               Height:       6 in.
MR#:       37903111-7501                           Weight:       175.0 lbs.
Gender:    Male                                    Age:          80 years


Referring Physician: Ryan Darby MD
Interpreting Physician: S Beshay MD, R Mathew MD

Sleep Summary:                                                            % Sleep Time
Bedtime:                           10:30:08 PM                         REM           NREM 1
Risetime:                          05:22:52 AM                        18.2%           14.9%

Total Recording Time:               412.7 min.
                                                                 NREM 3
Total Sleep Time:                   258.5 min.                    3.7%
Sleep Efficiency:                     62.6%
Sleep Onset Latency:                16.9 min.
REM Onset Latency                   14t0 mitt

                                                                                  NREM 2
                                                                                  53.2%




                                                                                              Page 1 of 7


                                                                                              MHH-0000011

Ex. 42, p. 4 of 12
                                      Patient: BROCKMAN,ROBERT                                                      MR#:37903111-7500                                Study Date: 8/12/2021


                                      Sleep Stage Summary:
                                     Stage                      Latency (min)           Duration (min)            % TST
                                     WASO                                                   137.0
                                     Stage N1                       16.9                     38.5                  14.9%
                                     Stage N2                       9.0                     163.5                  63.2%
                                     Stage N3                      129.5                     9.5                    3.7%




Ex. 42, p. 5 of 12
                                     Total NREM                                             211.5                  81.8%
                                     REM                           141.0                    47.0                   18.2%

                                      hlypnogram     VV—
                                                      R—
                                                     N1—
                                                     N2—               1 , , I ll Cf10. tttl.1_ , iflir if-
                                                     r13
                                      Time of ljay
                                                                                                                                                              I
                                                     22:30:19     23:11:49
                                     (h:m:s)
                                      Time of Day
                                     (ft m:s)        22:30:19
                                                                     , ,
                                                                  23:11:49
                                                                             23:53:19
                                                                                   , , ,
                                                                             23:53:19
                                                                                        00:34:49

                                                                                        00:34:49
                                                                                                   01:16:19
                                                                                                    ,
                                                                                                   01:16:19
                                                                                                              01:57:49

                                                                                                              01:57:49
                                                                                                                         02:39:19

                                                                                                                         02:39:19
                                                                                                                                    03:20:49

                                                                                                                                    03:20:49
                                                                                                                                               04:02:19

                                                                                                                                               04:02:19
                                                                                                                                                          04:43:49

                                                                                                                                                          04:43:49




                                                                                                                                                                               Page 2 of 7




                     Z1.00000-HHIN
                     MHH-0000013

Ex. 42, p. 6 of 12
                                         Patient: BROCKMAN,ROBERT                                        MR#: 37903111.7500                                               Study Date: 8/12/2021


                                         Respiratory Events Summary:
                                                                     RERA          Obs.           Mixed           Central               Hypopnea                       Al    Obs. AH1              RD1
                                                                                  Apnea           Apnea           Apnea                1A       1B                  (C+0+m) (o+M+HlE)
                                      REM Events                                                                     6                 18        4
                                            Max(secs)                                                               14.7                   65.2
                                            Mean (secs)                                                            13.4                    26.9




Ex. 42, p. 7 of 12
                                            Index(/hr)                                                              7.7               23.0      5.1                     7.7            5.1         23.0
                                      NREM Events                                   21              1                2                92                10
                                            Max (secs)                             40.2            46.4             16.5                     81.4
                                            Mean (secs)                            26.2            46.4             14.9                     33.6
                                            Index(/hr)                             6.0             0.3              0.6               26.1           2.8                6.8           9.1          32.3
                                      Event Totals                    -            22                1                   8            111            14
                                      Index Totals                                 5.1              0.2                 1.9           25.8           3.2                7.2           8.6          31.1


                                         Respiratory Events by Body Position:
                                                 (min.)          %TST                       Apneas                          Hypopneas           Total    Al    Obs. AHI                          Arousal
                                                                                 Obs.       Mixed Central                   1A    1B           Events (C+0+M) (0+M+H18)                           Index
                                      Back        258.5         100.0%            22          1      8                      111   14             142    7.2      8.6                               36.9
                                      Prone         -              -               -          -      -                       -     -              -       -       -                                  -
                                      Left          -              -               -          -      -                       -     -              -      -        -                                 -
                                      Right         -              -               -          -      -                             -              -      -        -                                 -
                                                                                                                             -
                                      Up            -             -                           -      -                       ._    -              -      -        -                                 -
                                      Total       258.5                          22           1              8              111       14            91              7.2              8.6          36.9



                                         Oximetry Summary:
                                         OSat         100
                                                      90-
                                                      130-
                                                %
                                                      70-
                                                      60-
                                                      50-
                                        lime of Day                       i             i            i              i             i             i               i             i             i
                                        (h:m:s)           22:30:19    23:11:49     23:53:19       00:34:49       01:16:19     01:57:49       02:39:19        03:20:49     04:02:19    04:43:49
                                                                                                                                                                                                           Page 3 of 7




                     171.00000-HHIN
                                      Patient: BROCKMAN, ROBERT                            MR#: 37903111-7500                                     Study Date: 8/12/2021

                                       Time of Day
                                      (h:m:s)         22:30:19   23:11:49   23:53:19   00:34:49     01:16:19   01:57:49     02:39:19   03:20:49   04:02:19   04:43:49


                                           Sp02              Min             Mean           Max
                                           Sleep            90.1%           96.1%          98.0%                          Min.1ST Sa02 < 90%:           0.3 min.
                                            REM             90.1%           94.7%          97.8%                          %TST Sa02 < 90%;              0.1%
                                           NREM             90.2%           95.1%          98.0%
                                            Wake            87.5%           95.3%          98.7%                          Min. TST Sa02 < 88%:          0.1 min.




Ex. 42, p. 8 of 12
                                         All Stages         87.5%           95.1%          98.7%                          %TST Sa02< 88%:               0.0%

                                            EKG               Min           Mean             Max
                                           Sleep             52.0           63.0             84.0
                                           REM               52.0           61.3             79.0
                                           NREM              52.0           63.4             84.0
                                           Wake              49.0           65.2             84.0




                                                                                                                                                                          Page 4 of 7




                     91,00000-HHVII
                                     Patient: BROCKMAN, ROBERT            MR#: 37903111-7500                  Study Date: 8/12/2021


                                     Limb Movement Summary:
                                                                                                       # Events   Index
                                                                                #PLMs — REM                -
                                                                                #PLMS — NREM               9       2,6
                                                                                #PLMs                     9        2.1
                                                                                #PLMs with Arousal         -        -




Ex. 42, p. 9 of 12
                                     Arousal Summary:
                                                                                            NREM             REM                 Total
                                                             Source of Arousals        Count   Index     Count Index         Count Index
                                                             Spontaneous                61      17.3      21    26.8          82      19.0
                                                             Apnea                       12      3.4       1      1.3         13       3.0
                                                             Hypopneas                  34       9.6      12     15.3         46      10.7
                                                             RERAs                        -       -       .        -
                                                             Snoring                      -       -        -       -
                                                             Desaturations              96      27.2      17    21.7           113    26.2
                                                             Periodic Limb Movement       -       -        -       -
                                                             Total Arousals             116     32.9      37    47.2          153     36.5




                                                                                                                                             Page 5 of 7




                     91.00000-HHIN
                      MHH-0000017

Ex. 42, p. 10 of 12
                                         Patient: BROCKMAN,ROBERT                          MR#: 37903111-7500                                 Study Date: 811212021


                                                                                                                Titration Summary:
                                       PAP     PAP       02      Time    TST     REM      REM      NREM     Sleep                                                                    Ar.    Max     Max    Mi n 02
                                      Device   Level    Level   (min)           (min)    Supine    (mm )              OA    CA     MA       HYP°I1
                                                                                                                                              1A     ANI    CAI-11   RERA   RDI
                                                                        (min)                               Eff%                                                                   Index   EtCO2   TcCO2    Sat
                                      CPAP       5       -      45.0     18.5    0.0       0.0      18.5    41.1%     3      -      -        12      48.6     -       -     48.6   48.6     -        -      87.5
                                      CPAP       6       -      12.0     11.5    0.0       0.0      11.5    95.8%     7      -      1         3      57.4     -       -     57.4   52.2      -       -      89.9
                                      CPAP       7              16.0     15.0    0.0       0.0      15.0    93.8%      -     -      -        13      52.0     -       -     52.0   4.0       -       -      91.3
                                      CPAP       8       -      31.5     20.5    0.0       0.0      20.5   65.1%      2      1      -        12      43.9    2.9      -     43.9   32.2     -        -      90.5




Ex. 42, p. 11 of 12
                                      CPAP       9       -      10.5     8.0     0.0       0.0      8.0     76.2%     3      -      -         5      60.0     -       -     60.0   45.0     -        -      92.1
                                      CPAP      10       -      20.5     15.5    0.0       0.0      15.5    75.6%     4      -      -         8      46.5     -       -     46.5   27.1     -        -      93.2
                                      CPAP      11       -      98.0    76.5     3.0       3.0     73.5     78.1%     1      -      -        34      27.5     -       -     27.5   33.7     -        -      91.9
                                      CPAP      12       -      21.0    20.5     16.5      16.5     4.0     97.6%      -     -      -         4      11.7     -       -     11.7   64.4     -        -      92.8
                                      CPAP      13       -      43.5    40.0     13.5      13.5    26.5    92.0%             -      -        12      18.0     -       -     18.0   30.0     -        -      90.5
                                      CPAP      14         -      92.0    32.5   14.0      14.0     18.5    35.3%      1     7      -         7      27.7   12.9      -     27.7   33.2     -        -      90.1
                                      CPAP _ 15            -      23.0    0.0    0.0        0.0      0.0     0.0%      -      -     -         -       -               -      -      -       -        -      92.9
                                        Note: BiLevel=1P/EP/Rate ASV=EEP/MinPS/MaxPS; AVAPS=EPAP/IPAPmin/IPAPmaxTridalVo1ume/Rate/1-Time;




                                                                                                                                                                                                   Page 6 of 7




                      81.00000-HHIN
Patient: BROCKMAN, ROBERT                                             MR#: 37903111-7500                                                  Study Date: 8/12/2021
 Hypnogram
                      R—
                     N1—
                     N2—
                     N3-
 Time of Day                                                                                    1                                  1
(h:m:s)               22:30:19    23:11:49   23:53:19        00:34:49         01:16:19      01:57:49      02:39:19             03:20:49    04:02:19   04:43:49
 Body Position
                     Left
                   Prone
                    Right
                 Supine
                 IJpriaht
 Time of Day
(h:m:s)               22:30:19    23:11:49   23:53:19        00:34:49         01:16:19      01:57:49      02:39:19             03:20:49    04:02:19   04:43:49
 OSat
                     90-
                     70-
                     50-
Time of Day
(h:m:s)               22:30:19    23:11:49   23:53:19        00:34:49         01:16:19      01:57:49       02:39:19            03:20:49    04:02:19    04:43:49
Arousal                   i                      -a;   rit       il   1 IIIE-Jod a               1   I   !Jnqinfri   l_JlTh1    i VW. II ,
                                                                                                                                         1            4/4 fl
Time of Day
(h:m:s)               22:30:19    23:11:49   23:53:19        00:34:49         01:16:19      01:57:49      02:39:19             03:20:49   04:02:19    04:43:49
 Central Apnea
 Mixed Apnea
 Obstructive
 AnnPA                                 vf                    I
Time of Day                           1
(h:m:s)           22:30:19        23:11:49   23:53:19        00:34:49         01:16:19      01:57:49      02:39;19             03:20:49    04:02:19   04:43:49
 Central Hypopnea
 Mixed Hypopnea
 Obstructhe
 Hv000nea                                              LO                                11 II
Time of Day
(h:m:s)               22:30:19    23:11:49   23:53:19        00:34:49         01:16:19      01:57:49      02:39:19             03:20:49    04:02:19   04:43:49
 RERA
Time of Day
 ih•reval             2210.19     73-11.49   23ti 53:19 1    00:34:49      ,,. 0t:1   p , co+5,7-49      ,o?,..19„.19,         03-79-49 , 04:0219     in4:4319
 Limb Movement
 Time of Day                          I          I               I                I             I             I                    1           I          1
 th.m•cl              22:30:19    23:11:49   23:53:19        00:34:49         01:16:19      01:57:49      02:39:19             03:20:49    04:02:19   04:43:49
 Pulse Rate
                     90-
        bpm
                      70-

                      50
Time of Day
(h:m:s)                22:30:19   23:11:49   23:53:19        00:34:49         01:16:19      01:57:49       02:39:19            03:20:49    04:02:19   04:43:49
 CO2                   1

                     0.5-


 Time of Day
(h:m:s)                22:30:19   23:11:49   23:53:19        00:34:49         01:16:19      01:57:49       02:39:19            03:20:49    04:02:19   04:43:49
 TcCO2                 1
                     0.5—


 Time of Day
(h:m:s)              22:30:19     23:11:49   23:53:19        00:34:49         01:16:19      01:57:49       02:39:19            03:20:49    04:02:19   04:43:49
 Pressure Titration 15

                      10-


Time of Day                           1
(h:m:s)               22:30:19    23:11:49   23:53:19        00:34:49         01:16:19      01:57:49      02:39:19             03:20:49    04:02:19   04:43:49
Supplemental 02       1—

                     0.5-


 Time of Day                                                     1
(h:m:s)               22:30:19    23:11:49   23:53:19        00:34:49         01:16:19      01:57:49      02:39:19             03:20:49    04:02:19   04:43:49
Time of Day               1                                      1                1                                                1
(h:m:s)               22:30:19    23:11:49   23:53:19        00:34:49         01:16:19      01:57:49      02:39:19             03:20:49    04:02:19   04:43:49




                                                                                                                                                        Page 7 of 7


                                                                                                                                                      MHH-0000019

Ex. 42, p. 12 of 12
Gov. Ex. 43
                                          GOVERNMENT
                                            EXHIBIT

                                         4:21-CR-009-GCH
                                               No. 43




                    Ex. 43 Page 1 of 4




Ex. 43, p. 1 of 4
                    Ex. 43 Page 2 of 4




Ex. 43, p. 2 of 4
                    Ex. 43 Page 3 of 4




Ex. 43, p. 3 of 4
                    Ex. 43 Page 4 of 4




Ex. 43, p. 4 of 4
Gov. Ex. 44
  From:         Bob Brockman [bob_bmcman@eyeymm]
  Sent:         6/27/20203:42:18PK4
  To:           'Bart Chandler'[Dyrod1Uc@hotmaiicom]


  Bart

 |finally made ittoColorado.

 |am trying to figure out how to gain access to theRanch — keys,mdes,waUboxe etc..

 |am hoping to put few rounds thru my SCAR today ortomorrow.

  Could you please point mein the right direction.

  Bob




                                                                                      GOVERNMENT
                                                                                        EXHIBIT

                                                                                     4:21-CR-009-GCH
                                                                                           No. 44



CONFIDENTIAL TREATMENT REQUESTED BY                                                         UC8HO220107
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 44, p. 1 of 1
Gov. Ex. 45
  From:         Bob Brockman [bob_bmcman@eyeymm]
  Sent:         7/31/2020 4:07:03 PM
  To:           Don Passmore(Passmoe@covadoed [Passmore@covadoet]




   I am inquiring about the losses in the various Nehemiah entities being able to be used againstmyVV'Iincome
  (approximately $6DM). Do you lack any further documentation needed on this issue?

  To what extent would this save on my 43% personal income tax?

  I suspect that you have been plenty busy — but I would appreciate what your guess is.

 |know that you have been working with Laura. Please let me know what remaining issues that you lack to complete
  RTB/DKB and RTBUreturns.

  Bob

  PSS: |amin Colorado until around Labor Day.|get aFEDX package every day from Houston. My assistant(Donna Ball)
  is responsible.




                                                                                                        GOVERNMENT
                                                                                                          EXHIBIT

                                                                                                       4:21-CR-009-GCH
                                                                                                             No. 45



CONFIDENTIAL TREATMENT REQUESTED BY                                                                         UC8HO220301
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 45, p. 1 of 1
Gov. Ex. 46
  Message

  From:          Bob Brockman [bob_brockman@reyrey.com]
  Sent:          8/4/2020 12:42:33 AM
  To:            'Cynthia Slade'[cfslade@mac.com]
  Subject:       RE:



  Cyndi

  I found it in one of the many pockets in my wallet.

  Sorry for raising the alarm

  Bob

  From: Bob Brockman [maiIto:bob—brockman@reyrey.com]
  Sent: Saturday, August 01, 2020 12:03 PM
  To: 'Cynthia Slade'
  Subject: RE:

  Cyndi

  The Concealed Carry license is exactly the carne dimensions as a drivers license.

  It is also a plastic card with my picture on it.

  Bob

  From: Cynthia Slade [mailto:cfslade@mac.com]
  Sent: Friday, July 31, 2020 6:53 PM
  To: Bob Brockman
  Subject: Re:

  Hi, Bob:

  I remember looking at your license in Taylor River Flyshop and getting the info from it, but I don't remember
  completely the Concealed Carry permit with it. I checked my bag from that day and haven't seen it.

  I also called Taylor Creek Fly Shop today and spoke with Justin. I asked him if anyone had turned in a
  Concealed Carry permit and he said he hasn't seen one.

  I'm back in Houston today, I can double check in the car when I return to Aspen on August 12th or Maria is
  welcome to go by the house and check the car if that helps, but I am sure I haven't seen any paper in the car.

  I'm so sorry that I'm not much help. Please let me know what I can do to help.

  Sincerely,

  Cyndi
                                                                                                     GOVERNMENT
                                                                                                       EXHIBIT

                                                                                                    4:21-CR-009-GCH
                                                                                                          No. 46



CONFIDENTIAL TREATMENT REQUESTED BY                                                                     UCSH 0229417
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 46, p. 1 of 2
  Ou Jul 3),2O20,ut4:25 PM,Bob Brockman <bob                               com>`9rote:

 [yndi

 |am missing my Concealed Carry permit.

  The last that I saw it was when you were needing my documentation and I gave you my Drivers license and Concealed
  Carry permit . There was some amount of confusion about then as things were being passed back and forth.

  Please check to see if you have it.

  Bob




CONFIDENTIAL TREATMENT REQUESTED BY                                                                       UC8HO22Q418
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 46, p. 2 of 2
Gov. Ex. 47
  Message

  From:          Bob Brockman [bob_brockman@reyrey.com]
  Sent:          10/10/2020 10:21:31 AM
  To:            'Don Passmore'[passmore@houston-cpa.com];'Robert Brockman (robert@firehead.org)'[robert@firehead.org]
  Subject:       RE: 2019 Gift Tax Return due 10/15/20


  Dorm,



  It seems to me that the view should be....

  Brock€r€an and Son has paid regular income tax on all earnings every year. Don     you have been filing those returns     as
  did Al Thorpe before you.

   Brock€r€an and Son funds are completely owned by RTB II already     so there should be no gift tax involved with R'I'B
  (senior)

  Cc RTB II




  From: Don Passmore [mailto:passmore@houston-cpa.com]
  Sent: Friday, October 09, 2020 1:57 PM
  To:'Bob Brockman'
  Cc: Dorothy Brockman
  Subject: 2019 Gift Tax Return due 10/15/20

  Bob
  Please give nee a call so we can finalize the Gift Tax Returns.
  Thanks
  Don




  Don L. Passmore, CPA
  Passmore & Associates, LLC
  7'13-955-0300
  7'13-935-0305 Fax

  CONFIDENTIALITY STATEMENT:
  This electronic message transmission contains information from Passmore & Associates; LLC and is confidential or
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  attachments is strictly prohibited. If you received this electronic transmission in error. this message and any attachments
  should be deleted immediately and please notify us by telephone at 713-935-0300.

  From: Don Passmore
  Sent: Tuesday, September 29, 2020 3:51 PM
  To:'Bob Brockman'
  Cc: 'Dorothy Brockman'
  Subject: 2019 Gift Tax Return
                                                                                                               GOVERNMENT
                                                                                                                 EXHIBIT
  Bob & Dorothy
                                                                                                              4:21-CR-009-GCH
                                                                                                                    No. 47



CONFIDENTIAL TREATMENT REQUESTED BY                                                                               UCSH 0229970
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 47, p. 1 of 2
  We are completing your 2019 U S Gift(and GST)Tax Return (Form 709)for both of you due 10/15/20 and need your
  assistance with the following items:
  ))      Confirm 2Ol9 cash gifts; Attached isa schedule of gifts based on information provided (see ]T Gifts toRTBU.PDF
  Laura generated report attached and email from Robert || below). Note that Laura's report reflects a 12/24/18 date for
  the 1]5,450 that Robert reflects received l/17/19. The schedule for now includes itasaZUl0gift.
  2)      Determine value of fair rental value for the personal use of                     and the amounts of 2019 gift from
  each of you to Robert 11 (and possibly Elizabeth); for now it is listed at 24,000. Note that information provided indicates
  that Dorothy bought out Bob's B interest on1O/l5/lg. This could give rise toan unequal gift unless the year's use was
  considered gifted prior tothe sale.

  Please call if you have any questions.

  Thanks
  Don

  Don LPassmone.CPA
  Passmnro& Associates, LLC
  713-935-0300
  713-935-0305 Fax

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  should be deleted immediately and please notify us by telephone at 713-935-0300.

  From: Robert Theron Brockman D [n)ailtn:robert                    .oru]
  Sent: Thursday, September 10"202012:26pM
  To: Don Pauomore
  Subject: Tax Infoiniation for my 2019 return



  Here are the major deposits into my checking account and where they came from:

  01/17/19 $ 135,455.70 - sift from Dad, should probably count against his lifetime sift allowance
  04/10/l9$}l,38O7O-sales of gold BFu,~~                          ~o~,~~Bm~~md Sons
  O5/3l/)9$9O9,847.57-pm~~lunwinding of Brockman and Sons, should henn tax due outhis
  08/14/19 $ 1,322,740.00 - selling of interest inFalcatamanagement company
  10/21/19 $ 200,000.00 - income from contract consulting work for parents




CONFIDENTIAL TREATMENT REQUESTED BY                                                                               UC8HO220071
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 47, p. 2 of 2
Gov. Ex. 48
  Message

  From:           Bob Brockman [bob_brockman@reyrey.com]
  Sent:           8/10/2020 12:20:58 AM
  To:             'Stephen Slade'[sgs@visiontexas.com]
  Subject:        RE: Good Day in Houston!



  Steve,

  I agree    George and I were out today with Bart at the Basalt city range.

  Bob

  From: Stephen Slade [mailto:sgs@visiontexas.com]
  Sent: Saturday, August 08, 2020 8:06 PM
  To: Bob Brockman
  Subject: Re: Good Day in Houston!

  We had a great time!

  Robert is extremely knowledgeable about all the guns, very tuned in to safety as well.

  Cyndi is a pretty good shot!

  Let's go shoot when we come up to Aspen!

  Steve


  On Aug 8, 2020, at 7:10 PM,Bob Brockman <bob brockman(pxeyrey.com> wrote:

  Steve,

  1--ooks like lots of good groups,

  This means that the shooting is already running at high quality — it just needs sight adjustments.

  Bob

  From: Stephen Slade [mailto:sgs0)visiontexas.com]
  Sent: Friday, August 07, 2020 8:48 PM
  To: Bob Brockman; Dorothy Brockman
  Subject: Good Day in Houston!

  Dear Bob and Dorothy,

  I wanted to share a couple of pictures from our shooting day with Robert, we had a "blast".

  Cyndi has a new 57 and now that is her favorite pistol.

  That target looks dead to me!                                                                         GOVERNMENT
                                                                                                          EXHIBIT

                                                                                                       4:21-CR-009-GCH
                                                                                                             No. 48


CONFIDENTIAL TREATMENT REQUESTED BY                                                                      UCSH 0229464
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 48, p. 1 of 2
  Much tove,
                   ~
                 )J     i      jD~>
                               .~




CONFIDENTIAL TREATMENT REQUESTED BY         UC8HO2204G5
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 48, p. 2 of 2
Gov. Ex. 49
  From:        Bob Brockman [bob_bmcman@eyeymm]
  Sent:        8/27/20187:44:03PK4
  To:          'Sheehan, Chris' [Chris—Sheehan@reyrey.com];'Robert Theron Brockman 11' [robert@firehead.org];'Dorothy
               Brockman'[dorothy_brockman@eyeyzom];'Donna Ball' [Donna_Ba||@reyrey.com]
  Subject:     FVV: Alaska Itinerary /N5I9DB/ Sept. 3'1O,I01D
  Attachments: a|aska itinerary sept3'1O'2O1D.pdf




  From: Jeanne Zeto[maiKo:jzeto@solairus.aero]
  Sent: Munday, August 27, 2018 1:06 PM
  To:'Bob_8rockman@reyrey.com'; Rob Na|lev(rob_naUey@reyrey.com); 'Ball, Donna'
  Cc: al—deaton@reyrey.com;Tommy_Banas@reyrey.com; cadan—z)oper@reyrey.com; EdwmndCappe|;
  genard_krwan@reyrey.com;cmccond@mccordprod.com; stuart.yudofskv@gmai|.com;doggett1@sbco|oba|.net
  masseythermo|ube@ao|.cum;tharper3@reagan.cum
  Subject: Alaska Itinerary / N529DB / Sept. 3-10, 2018

  Good Afternoon Everyone!

  It is that time of year again for the Annual Alaskan/ Labor Day Fishing trip

                                                                                  d
  Please find your travel itinerary attached for departure Monday, September          at0A]0amlocal
  Returning Monday, September 10th

  Please do not hesitate to email me at jzeto@solairus.aero or call me on my cell phone at 281-507-9241 if you have any
  q uestions orconcerns

  Have a Wonderful Trip!

  Thankyou


  Best Regards,

  ]eanneZeto
   Director, Business Development

 So|ainusAvaUon
  D 7U776A.60IQ
 [281.507.y241
 T 8003Sg786l 24/7
  jzeto@no|airus.aeru
 vvvvvv.*o|airus.aero




                                                                                                               GOVERNMENT
                                                                                                                 EXHIBIT

                                                                                                             4:21-CR-009-GCH
                                                                                                                   No. 49


CONFIDENTIAL TREATMENT REQUESTED BY                                                                             UC8HO210578
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 49, p. 1 of 2
        L    R.U'S




CONFIDENTIAL TREATMENT REQUESTED BY         UCSH 0219579
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 49, p. 2 of 2
Gov. Ex. 50
                     GOVERNMENT
                       EXHIBIT

                    4:21-CR-009-GCH
                          No. 50




Ex. 50, p. 1 of 2
Ex. 50, p. 2 of 2
Gov. Ex. 51
  From:        Bob Brockman [bob_bmcman@eyeymm]
  Sent:        7/30/2020255:I1PK8
  To:          'Moss, Craig'[Craig_Maa@reyeymm]
  Subject:     RE: Adjusted Bonus


  OK

  BB


  From: Moss, Craig [maiKo:[ra          reyreycon]
  Sent: Wednesday, July 29, 2020 11:00 AM
  To:'Bob Brockman'
  Subject: Adjusted Bonus

  Bob:

  Due to the decrease in EBITDA we need to adjust you bonus so that we are in line with your employment
  agreement. Base on the June Financials the Annualized EB|TDAis$537,6OO8OU.00 times 3Y6is$l6,1I8,OOO. We will
  revisit in September again and hopefully adjust it upwards.




                                                                                                    GOVERNMENT
                                                                                                      EXHIBIT

                                                                                                   4:21-CR-009-GCH
                                                                                                         No. 51



CONFIDENTIAL TREATMENT REQUESTED BY                                                                   UC8HO220380
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 51, p. 1 of 1
Gov. Ex. 52
                                 UNANIMOUS WRITTEN CONSENT OF THE
                                       BOARD OF DIRECTORS OF
                                   DEALER COMPUTER SERVICES,INC.

                                                 August 13,2020

                 The members of the Board of Directors (the "Board")of Dealer Computer Services, Inc.,
          a Delaware Corporation (the "Company"), hereby adopt the following resolutions in accordance
          with the terms ofthe Bylaws ofthe Company:

                  WHEREAS,a director of both Medlands(PTC)Limited, in its capacity as Trustee of the
          A. Eugene Brockman Charitable Trust (the "Trust"), and Spanish Steps Holdings Ltd               T
         ("Spanish Steps"), the 96.5121% shareholdeif of Universal Computer Systems Holding, Inc.
         ("UCSH"), has issued a letter to UCSH dated August 12, 2020(the "Letter"), a copy of which is
          attached hereto as Exhibit A, which formally requests that UCSH issue a cash dividend to its
          shareholders in the amount necessary to permit UCSH, to (i) make cash payments to the U.S.
          charities, ultimately on behalf of the Trust and to be treated by UCSH as a deemed dividend to
          Spanish Steps, in accordance with the Letter in the total amount equal to USD $11,409,868; (ii)
          pay an equivalent amount of dividends, on a per share basis, to UCSH's other shareholders; and
         (iii) pay the required U.S, tax withholding obligation with respect to the dividend deemed paid to
          Spanish Steps in accordance with the timing in which payments are actually made to the U.S.
          charities by UCSH as well as with regard to actual dividends paid to all other foreign (non-U.S.)
          shareholders of UCSH (collectively, the "Dividend Payment"); and

                  WHEREAS, the Board of Directors of UCSH has determined that it does not have
          sufficient cash resources to fund the Dividend Payment and has requested that the Company
          issue a dividend in an amount equal to the Dividend Payment; and

                 WHEREAS, the Board has determined that it does not have sufficient cash resources to
          fund the Dividend Payment and has requested that The Reynolds and Reynolds Company
         ("Reynolds") issue a dividend in an amount equal to the Dividend Payment (the "Reynolds
          Dividend"); and

                 WHEREAS,the Board has determined that it is prudent to issue a dividend to UCSH in
          an amount equal to the Reynolds Dividend;

                NOW, THEREFORE, IT IS RESOLVED, that the Board hereby authorizes the
          Company, upon receipt of the Reynolds Dividend, to pay an equivalent dividend payment to
          UCSH;and

                  FURTHER RESOLVED, that any proper officer of the Company is hereby authorized
          and empowered, for and on behalf of the Company, to take any and all such further actions as
          may be necessary or proper to carry out the intent and accomplish the purposes of the above
          resolutions, including, without limitation, executing and delivering such documents and
          instruments as shall be deemed necessary or desirable in connection therewith, the taking of any
          action or the execution of any document to be conclusive evidence ofthe necessity therefore; and


                                                                                                    GOVERNMENT
                                                                                                      EXHIBIT

                                                                                                   4:21-CR-009-GCH
                                                                                                         No. 52


CONFIDENTIAL TREATMENT REQUESTED BY                                                                     UCSH 0229512
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 52, p. 1 of 15
                  FURTHER RESOLVED, that any and all actions taken previously hereto by the
          officers, employees or representatives of the Company or its subsidiaries in furtherance of the
          above resolutions are hereby authorized, ratified and confirmed in all respects.

                  IN WITNESS WHEREOF,the undersi!,ed have hereunto subscribed their names as all
          of the members of the Board of Directors of Dealer Computer Services, Inc., to the same extent
          and for all purposes as if an actual meeting of the Board had been held in the offices of the
          Company on this the 13th day of August, 2020.


                                              Signature:     R.7,, MiLock
                                                           Robert T. Brockman

                                              Signature:
                                                           Alfred L. Deaton III




CONFIDENTIAL TREATMENT REQUESTED BY                                                                   UCSH 0229513
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 52, p. 2 of 15
                                            EXHIBIT A

                LETTER FROM MEDLANDS(PTC)LINIITED DATED AUGUST 121, 2020

                                            (Attached)




CONFIDENTIAL TREATMENT REQUESTED BY                                        UCSH 0229514
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 52, p. 3 of 15
                              UNANIMOUS WRITTEN CONSENT OF THE
                                    BOARD OF DIRECTORS OF
                           UNIVERSAL COMPUTER SYSTEMS HOLDING,INC.

                                                August 13, 2020

                 The members of the Board of Directors (the "Board") of Universal Computer Systems
          Holding, Inc., a Delaware Corporation (the "Company"), hereby adopt the following resolutions
          in accordance with the terms of the Bylaws of the Company:

                  WHEREAS, the A. Eugene Brockman Charitable Trust (the "Trust") indirectly owns
          substantially all of the Company's equity; and

                  WHEREAS, the Trust has previously made various charitable commitments for which
          substantial payment obligations are due on or before September 30, 2020; and

                  WHEREAS,a director of both Medlands,(FTC)Limited, in its capacity as Trustee of the
          Trust, and Spanish Steps Holdings Ltd. ("Spanish Steps"), the 96.5121% shareholder of the
          Company, has issued a letter to the Company dated August 12, 2020 (the "Letter"), a copy of
          which is attached hereto as Exhibit A, which formally requests that the Company issue a cash
          dividend to its shareholders in the amount necessary to permit the Company, to (i) make cash
          payments to the U.S. charities, ultimately on behalf of the Trust and to be treated by the
          Company as a deemed dividend to Spanish Steps, in accordance with the Letter in the total
          amount equal to USD $11,409,868; (ii) pay an equivalent amount of dividends, on a per share
          basis, to the Company's other shareholders; and (iii) pay the required U.S. tax withholding
          obligation with respect to the dividend deemed paid to Spanish Steps in accordance with the
          timing in which payments are actually made to the U.S. charities by the Company as well as with
          regard to actual dividends paid to all other foreign (non-U.S.) shareholders of the Company
         (collectively, the "Dividend Payment"); and

                WHEREAS, the Board has determined that the Company can satisfy this request by
          making the Dividend Payment and, with respect to the portion that would be paid to the Trust,
          making direct payments to the U.S. charities as requested by the Letter; and

                 WHEREAS, the Board has determined that the Company does not have sufficient cash
          resources to fund the Dividend Payment and, as a result, an equivalent dividend payment will
          need to be paid from The Reynolds and Reynolds Company ("Reynolds") to Dealer Computer
          Services, Inc.("DCSI"), with a resulting payment from DCSI to the Company;

               NOW, THEREFORE, IT IS RESOLVED, that the Board hereby authorizes the
          Company to pay the Dividend Payment; and

                  FURTHER RESOLVED, that any proper officer of the Company is hereby authorized
          and directed to make payments to the U.S. charities as requested by the Letter, which amount
          shall be funded with a portion ofthe Dividend Payment; and

                FURTHER RESOLVED, that the Company, in its capacity as the sole shareholder of
          DCSI, hereby requests the members of the Board of Directors of DCSI to (1) have Reynolds




CONFIDENTIAL TREATMENT REQUESTED BY                                                                   UCSH 0229515
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 52, p. 4 of 15
          make a dividend payment to DCSI in the amount necessary to fund the Dividend Payment; and
         (ii) pay such dividend payment to the Company; and

                  FURTHER RESOLVED, that any proper officer of the Company is hereby authorized
          and empowered, for and on behalf of the Company, to take any and all such further actions as
          may be necessary or proper to carry out the intent and accomplish the purposes of the above
          resolutions, including, without limitation, executing and delivering such documents and
          instruments as shall be deemed necessary or desirable in connection therewith, the taking of any
          action or the execution of any document to be conclusive evidence ofthe necessity therefore; and

                  FURTHER RESOLVED, that any and all actions taken previously hereto by the
          officers, employees or representatives of the Company or its subsidiaries in furtherance of the
          above resolutions are hereby authorized, ratified and confirmed in all respects.

                 IN WITNESS WHEREOF,the undersigned have hereunto subscribed their names as all
          of the members of the Board of Directors of Universal Computer Systems Holding, Inc., to the
          same extent and for all purposes as if an actual meeting of the Board had been held in the offices
          ofthe Company on this the 13th day of August, 2020.


                                               Signature:       j'?.i, -
                                                            Robert T. Brockman

                                               Signature:
                                                            Alfred L. Deaton III




CONFIDENTIAL TREATMENT REQUESTED BY                                                                      UCSH 0229516
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 52, p. 5 of 15
                                            EXHIBIT A

                LETTER FROM MEDLANDS(PTC)LIMITED DATED AUGUST 12,2020

                                            (Attached)




CONFIDENTIAL TREATMENT REQUESTED BY                                     UCSH 0229517
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 52, p. 6 of 15
                                UNANIMOUS WRITTEN CONSENT OF THE
                                      BOARD OF DIRECTORS OF
                               THE REYNOLDS AND REYNOLDS COMPANY

                                                 August 13, 2020

                 The members of the Board of Directors (the "Board") of The Reynolds and Reynolds
          Company, an Ohio Corporation (the "Company"), hereby adopt the following resolutions in
          accordance with the terms of the Code of Regulations of the Company:

                  WHEREAS,a director of both Medlands(PTC)Limited, in its capacity as Trustee of the
          A. Eugene Brockman Charitable Trust (the "Trust"), and Spanish Steps Holdings Ltd.
         ("Spanish Steps"), the 96.5121% shareholdeif of Universal Computer Systems Holding, Inc.
         ("UCSH"), has issued a letter to UCSH dated August 12, 2020(the "Letter"), a copy of which is
          attached hereto as Exhibit A, which formally requests that UCSH issue a cash dividend to its
          shareholders in the amount necessary to pen-nit UCSH, to (i) make cash payments to the U.S.
          charities, ultimately on behalf of the Trust and to be treated by UCSH as a deemed dividend to
          Spanish Steps, in accordance with the Letter in the total amount equal to USD $11,409,868;(ii)
          pay an equivalent amount of dividends, on a per share basis, to UCSH's other shareholders; and
         (iii) pay the required U.S. tax withholding obligation with respect to the dividend deemed paid to
          Spanish Steps in accordance with the timing in which payments are actually made to the U.S.
          charities by UCSH as well as with regard to actual dividends paid to all other foreign (non-U.S.)
          shareholders of UCSH (collectively, the "Dividend Payment"); and

                  WHEREAS, the Board of Directors of UCS14 has determined that it does not have
          sufficient cash resources to fund the Dividend Payment and has requested that Dealer Computer
          Services, Inc.("DCSI"), issue a dividend in an amount equal to the Dividend Payment; and

                  WHEREAS, the Board of Directors of DCSI has determined that it does not have
          sufficient cash resources to fund the Dividend Payment and has requested that the Company
          issue a dividend in an amount equal to the Dividend Payment; and

                 WHEREAS, the Board has determined that it is prudent to issue a dividend to DCSI in
          an amount equal to the Dividend Payment;

               NOW, THEREFORE, IT IS RESOLVED, that the Board hereby authorizes the
          Company to pay a dividend to DCSI in an amount equal to the Dividend Payment; and

                  FURTHER RESOLVED, that any proper officer of the Company is hereby authorized
          and empowered, for and on behalf of the Company, to take any and all such further actions as
          may be necessary or proper to carry out the intent and accomplish the purposes of the above
          resolutions, including, without limitation, executing and delivering such documents and
          instruments as shall be deemed necessary or desirable in connection therewith, the taking of any
          action or the execution of any document to be conclusive evidence ofthe necessity therefore; and

                  FURTHER RESOLVED, that any and all actions taken previously hereto by the
          officers, employees or representatives of the Company or its subsidiaries in furtherance of the
          above resolutions are hereby authorized, ratified and confirmed in all respects.




CONFIDENTIAL TREATMENT REQUESTED BY                                                                     UCSH 0229518
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 52, p. 7 of 15
                  IN WITNESS WHERM-0,the undersigned have hereunto subscribed their names as all
          of the members of Clio Board of Directors of the The Reymids and Repiolds., Company, to the
          scenic extent and I'm all purposes as if an actual men ting offl-te Board had been field in the office's
          of the Company on this the 1301, day 1 ofAugusL
                                                        —    2020.


                                                  Signature-
                                                               Roben T. Wockman

                                                 signatutv: --F~?C5
                                                            -             d x
                                                            Alfted L. Denton 1.11

                                                  signatum
                                                               Robert M. NlalleN,




CONFIDENTIAL TREATMENT REQUESTED BY                                                                            UCSH 0229519
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 52, p. 8 of 15
                                            EXHIBIT A

                LETTER FROM MEDLANDS(PTC)LIMITED DATED AUGUST 12,2020

                                            (Attached)




                                                            I




CONFIDENTIAL TREATMENT REQUESTED BY                                     UCSH 0229520
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 52, p. 9 of 15
                                UNANIMOUS WRITTEN CONSENT OF THE
                                      BOARD OF DIRECTORS OF
                               THE REYNOLDS AND REYNOLDS COMPANY

                                                 August 13, 2020

                 The members of the Board of Directors (the "Board") of The Reynolds and Reynolds
          Company, an Ohio Corporation (the "Company"), hereby adopt the following resolutions in
          accordance with the terms ofthe Code of Regulations of the Company:

                  WHEREAS,a director of both Medlands(PTC)Limited, in its capacity as Trustee of the
          A. Eugene Brockman Charitable Trust (the "Trust"), and Spanish Steps Holdings Ltd.
         ("Spanish Steps"), the 96.5121% shareholder' of Universal Computer Systems Holding, 'Inc.
         ("UCSH"), has issued a letter to UCSH dated August 12, 2020(the "Letter"), a copy of which is
          attached hereto as Exhibit A, which formally requests that UCSH issue a cash dividend to its
          shareholders in the amount necessary to permit UCSH, to (i) make cash payments to the U.S.
          charities, ultimately on behalf of the Trust and to be treated by UCSH as a deemed dividend to
          Spanish Steps, in accordance with the Letter in the total amount equal to USD $11,409,868;(ii)
          pay an equivalent amount of dividends, on a per share basis, to UCSH's other shareholders; and
         (iii) pay the required U.S. tax withholding obligation with respect to the dividend deemed paid to
          Spanish Steps in accordance with the timing in which payments are actually made to the U.S.
          charities by UCSH as well as with regard to actual dividends paid to all other foreign (non-U.S.)
          shareholders of UCSH (collectively, the "Dividend Payment"); and

                  WHEREAS, the Board of Directors of UCSH has determined that it does not have
          sufficient cash resources to fund the Dividend Payment and has requested that Dealer Computer
          Services, Inc.("DCSI"), issue a dividend in an amount equal to the Dividend Payment; and

                  WHEREAS, the Board of Directors of DCSI has detennined that it does not have
          sufficient cash resources to fund the Dividend Payment and has requested that the Company
          issue a dividend in an amount equal to the Dividend Payment; and

                 WHEREAS, the Board has determined that it is prudent to issue a dividend to DCS1 in
          an ainount equal to the Dividend Payment;

               NOW, THEREFORE, IT IS RESOLVED, that the Board hereby authorizes the
          Company to pay a dividend to DCS1 in an amount equal to the Dividend Payment; and

                  FURTHER RESOLVED, that any proper officer of the Company is hereby authorized
          and empowered, for and on behalf of the Company, to take any and all such further actions as
          may be necessary or proper to carry out the intent and accomplish the purposes of the above
          resolutions, including, without limitation, executing and delivering such documents and
          instruments as shall be deemed necessary or desirable in connection therewith, the taking of any
          action or the execution of any document to be conclusive evidence of the necessity therefore; and

                  FURTHER RESOLVED, that any and all actions taken previously hereto by the
          officers, employees or representatives of the Company or its subsidiaries in furtherance of the
          above resolutions are hereby authorized, ratified and confirmed in all respects.




CONFIDENTIAL TREATMENT REQUESTED BY                                                                    UCSH 0229521
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 52, p. 10 of 15
                 IN WITNESS WHEREOF,the undersigned have hereunto subscribed their names as all
          of the members of the Board of Directors of the The Reynolds and Reynolds Company, to the
          same extent and for all purposes as if an actual meeting of the Board had been held in the offices
          ofthe Company on this the 13th day of August,2020.


                                               Siyeature:
                                                            Robert T. Brockman

                                               Signature:
                                                            Alfred L. Deaton III

                                               Signature:
                                                            Robert M. Nalley




CONFIDENTIAL TREATMENT REQUESTED BY                                                                      UCSH 0229522
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 52, p. 11 of 15
                                            EXIiIBIT A

                LETTER FROM MEDLANDS(PTC)LBUTED DATED AUGUST 12,2020

                                            (Attached)




CONFIDENTIAL TREATMENT REQUESTED BY                                    UCSH 0229523
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 52, p. 12 of 15
                                UNANIMOUS WRITTEN CONSENT OF THE
                                      BOARD OF DIRECTORS OF
                               THE REYNOLDS AND REYNOLDS COMPANY

                                                 August 13, 2020

                 The members of the Board of Directors (the "Board") of The Reynolds and Reynolds
          Company, an Ohio Corporation (the "Company"), hereby adopt the following resolutions in
          accordance with the terms ofthe Code of Regulations of the Company:

                  WHEREAS,a director of both Medlands(PTC)Limited, in its capacity as Trustee of the
          A. Eugene Brockman Charitable Trust (the "Trust"), and Spanish Steps Holdings Ltd.
         ("Spanish Steps"), the 96.5121% shareholder' of Universal Computer Systems Holding, Inc.
         ("UCSH"), has issued a letter to UCSH dated August 12, 2020(the "Letter"), a copy of which is
          attached hereto as Exhibit A, which formally requests that UCSH issue a cash dividend to its
          shareholders in the amount necessary to permit UCSH, to (i) make cash payments to the U.S.
          charities, ultimately on behalf of the Trust and to be treated by UCSH as a deemed dividend to
          Spanish Steps, in accordance with the Letter in the total amount equal to USD $11,409,868;(ii)
          pay an equivalent amount of dividends, on a per share basis, to UCSH's other shareholders; and
         (iii) pay the required U.S. tax withholding obligation with respect to the dividend deemed paid to
          Spanish Steps in accordance with the timing in which payments are actually made to the U.S.
          charities by UCSH as well as with regard to actual dividends paid to all other foreign (non-U.S.)
          shareholders of UCSH (collectively, the "Dividend Payment"); and

                  WHEREAS, the Board of Directors of UCSH has determined that it does not have
          sufficient cash resources to fund the Dividend Payment and has requested that Dealer Computer
          Services, Inc.("DCSI"), issue a dividend in an amount equal to the Dividend Payment; and

                  WHEREAS, the Board of Directors of DCSI has determined that it does not have
          sufficient cash resources to fund the Dividend Payment and has requested that the Company
          issue a dividend in an amount equal to the Dividend Payment; and

                 WHEREAS, the Board has determined that it is prudent to issue a dividend to DCSI in
          an annount equal to the Dividend Payment;

               NOW, THEREFORE, IT IS RESOLVED, that the Board hereby authorizes the
          Company to pay a dividend to DCSI in an amount equal to the Dividend Payment; and

                  FURTHER RESOLVED, that any proper officer of the Company is hereby authorized
          and empowered, for and on behalf of the Company, to take any and all such further actions as
          may be necessary or proper to carry out the intent and accomplish the purposes of the above
          resolutions, including, without limitation, executing and delivering such documents and
          instruments as shall be deemed necessary or desirable in connection therewith, the taking of any
          action or the execution of any document to be conclusive evidence of the necessity therefore; and

                  FURTHER RESOLVED, that any and all actions taken previously hereto by the
          officers, employees or representatives of the Company or its subsidiaries in furtherance of the
          above resolutions are hereby authorized, ratified and confirmed in all respects.




CONFIDENTIAL TREATMENT REQUESTED BY                                                                     UCSH 0229524
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 52, p. 13 of 15
                  IN WITNESS WHER-EOF,the undersi-lied have heretinto subscribed their names as all
                                                                71


          of the men-ibers of the Board of Directors of the The Reynolds and Reynolds Company, to the
          saine extent anti for all purposes as if an actual meeting of the Board had been held in the offices
          ofthe Company on this the I 3th day of August. 2020.


                                                Signature   -             A 7-, Prrwt-m
                                                                                             r
                                                                Robext T
                                                                          v                      id
                                                Signature.           If



                                                                Alft          L Deaton III

                                                Signature:
                                                                lZobert M. Nalley




CONFIDENTIAL TREATMENT REQUESTED BY                                                                        UCSH 0229525
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 52, p. 14 of 15
                                            EXHIBIT A

                LETTER FROM MEDLANDS(PTC)LIMITED DATED AUGUST 12,2020

                                            (Attached)




CONFIDENTIAL TREATMENT REQUESTED BY                                     UCSH 0229526
U NIVERSAL COMPUTER SYSTEMS HOLDING, INC.

    Ex. 52, p. 15 of 15
Gov. Ex. 54
                     GOVERNMENT
                       EXHIBIT

                    4:21-CR-009-GCH
                          No. 54




Ex. 54, p. 1 of 3
Ex. 54, p. 2 of 3
Ex. 54, p. 3 of 3
Gov. Ex. 55
                     GOVERNMENT
                       EXHIBIT

                    4:21-CR-009-GCH
                          No. 55




Ex. 55, p. 1 of 2
Ex. 55, p. 2 of 2
Gov. Ex. 56
                     GOVERNMENT
                       EXHIBIT

                    4:21-CR-009-GCH
                          No. 56




Ex. 56, p. 1 of 4
Ex. 56, p. 2 of 4
Ex. 56, p. 3 of 4
Ex. 56, p. 4 of 4
Gov. Ex. 57
                     GOVERNMENT
                       EXHIBIT

                    4:21-CR-009-GCH
                          No. 57




Ex. 57, p. 1 of 1
Gov. Ex. 58
                    EXHIBIT 58

    January 2019
Brockman Depo Video
       Day 1



                                  GOVERNMENT
                                    EXHIBIT

                                 4:21-CR-009-GCH
                                       No. 58



Ex. 58, p. 1 of 1
Gov. Ex. 58A
                EXHIBIT 58A

   Brockman Jan. 2019
      Depo Excerpt
  Ex. 58, Video 1 of 3, timestamp:
            1:58 to 5:45




                                GOVERNMENT
                                  EXHIBIT

                               4:21-CR-009-GCH
                                    No. 58A



Ex. 58A, p. 1 of 1
Gov. Ex. 58B
               EXHIBIT 58B

   Brockman Jan. 2019
      Depo Excerpt
  Ex. 58, Video 1 of 3, timestamp:
            0:17 to 1:57




                                     GOVERNMENT
                                       EXHIBIT

                                 4:21-CR-009-GCH
                                      No. 58B



Ex. 58B, p. 1 of 1
Gov. Ex. 58C
               EXHIBIT 58C

   Brockman Jan. 2019
      Depo Excerpt
  Ex. 58, Video 1 of 3, timestamp:
            8:40 to 15:45



                                GOVERNMENT
                                  EXHIBIT

                               4:21-CR-009-GCH
                                    No. 58C



Ex. 58C, p. 1 of 1
Gov. Ex. 58D
               EXHIBIT 58D

   Brockman Jan. 2019
      Depo Excerpt
  Ex. 58, Video 1 of 3, timestamp:
            2:05 to 5:01




                                GOVERNMENT
                                  EXHIBIT

                               4:21-CR-009-GCH
                                    No. 58D



Ex. 58D, p. 1 of 1
Gov. Ex. 59
                    EXHIBIT 59

    January 2019
Brockman Depo Video
       Day 2



                                  GOVERNMENT
                                    EXHIBIT

                                 4:21-CR-009-GCH
                                       No. 59


Ex. 59, p. 1 of 1
Gov. Ex. 59A
               EXHIBIT 59A

   Brockman Jan. 2019
      Depo Excerpt
  Ex. 59, Video 4 of 4, timestamp:
             9:50-17:00



                               GOVERNMENT
                                 EXHIBIT

                              4:21-CR-009-GCH
                                   No. 59A


Ex. 59A, p. 1 of 1
Gov. Ex. 59B
               EXHIBIT 59B

   Brockman Jan. 2019
      Depo Excerpt
  Ex. 59, Video 4 of 4, timestamp:
         1:15:50 to 1:18:55




                                 GOVERNMENT
                                   EXHIBIT

                                4:21-CR-009-GCH
                                     No. 59B



Ex. 59B, p. 1 of 1
